               Case: 23-3565   Document: 22        Filed: 02/26/2024   Page: 1




                                      No. 23-3565


                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE SIXTH CIRCUIT


                               UNITED STATES OF AMERICA,

                                                    Plaintiff-Appellee,

                                              v.

                                 LARRY HOUSEHOLDER,

                                               Defendant-Appellant.

                  On Appeal from the United States District Court
                        for the Southern District of Ohio
                               Case No. 1:20-cr-77-1

               BRIEF OF APPELLANT LARRY HOUSEHOLDER


    Steven L. Bradley                              Nicholas R. Oleski
    MAREIN & BRADLEY                               MCCARTHY, LEBIT, CRYSTAL
    526 Superior Avenue                              & LIFFMAN CO., LPA
    Suite 222                                      1111 Superior Avenue East,
    Cleveland, Ohio 44114                          Suite 2700
    (216) 781-0722                                 Cleveland, Ohio 44114
                                                   (216) 696-1422


                          Counsel for Larry Householder

February 26, 2024



{01997861-1}
               Case: 23-3565         Document: 22          Filed: 02/26/2024          Page: 2




                                   TABLE OF CONTENTS

                                                                                                       Page

Table of Authorities .................................................................................. iv

Statement Regarding Oral Argument ...................................................xiii

Statement of Jurisdiction .......................................................................... 1

Statement of Issues ................................................................................... 2

Introduction ............................................................................................... 3

Statement of the Case ............................................................................... 7

         A.     Factual Background ................................................................ 7

                1.       Larry Householder ......................................................... 7

                2.       FirstEnergy and FirstEnergy Solutions ........................ 8

                3.       Generation Now ........................................................... 10

                4.       House Bill 6 .................................................................. 12

         B.     Procedural Background......................................................... 13

                1.       Indictment .................................................................... 13

                2.       Trial .............................................................................. 14

                3.       Post-Trial Proceedings ................................................. 15

Summary of the Argument ..................................................................... 15

Argument ................................................................................................. 17

I.       The district court’s ex parte and sua sponte dismissal of a juror
         violated Householder’s Sixth Amendment rights. ......................... 17

         A.     The standard of review is de novo. ....................................... 18

         B.     The district court dismissed a trial juror ex parte. ............... 18
                                                      i
{01997861-1}
               Case: 23-3565         Document: 22          Filed: 02/26/2024          Page: 3




         C.     Householder’s Sixth Amendment rights were violated. ....... 20

II.      The district court improperly instructed the jury. ........................ 25

         A.     The standard of review is de novo and abuse of
                discretion. .............................................................................. 25

         B.     The district court’s bribery instructions were wrong. .......... 26

         C.     The district court improperly instructed the jury that
                the government impeached a defense witness. .................... 33

         D.     These errors were not harmless............................................ 38

III.     The evidence was insufficient to convict Householder. ................. 40

         A.     The standard of review is whether any reasonable jury
                could find the essential elements beyond a reasonable
                doubt. ..................................................................................... 40

         B.     The evidence was insufficient to convict Householder. ........ 42

                1.      Householder did not engage in bribery. ...................... 43

                2.      The private sector bribery predicates are insufficient.
                        ...................................................................................... 54

                3.      The money laundering predicates fail. ........................ 57

IV.      The district court committed evidentiary errors. .......................... 57

         A.     The standard of review is abuse of discretion. ..................... 57

         B.     The admission of two Title III recordings during
                Householder’s cross-examination was erroneous. ................ 57

         C.     The district court erred in permitting the government to
                tell the jury about Longstreth and Cespedes’s guilty
                pleas. ...................................................................................... 60

         D.     The district court’s evidentiary errors were not
                harmless. ............................................................................... 66


                                                      ii
{01997861-1}
               Case: 23-3565         Document: 22          Filed: 02/26/2024        Page: 4




V.       The district court erred in sentencing Householder to the
         maximum sentence permitted by law. ........................................... 67

         A.     The standard of review is de novo and abuse of
                discretion. .............................................................................. 67

         B.     The district court’s maximum sentence is procedurally
                unreasonable. ........................................................................ 67

         C.     The district court’s maximum sentence was
                substantively unreasonable too. ........................................... 73

VI.      There was an appearance of impropriety, and the district
         judge should have recused himself. ............................................... 76

Conclusion ............................................................................................... 82

Certificate of Compliance ........................................................................ 83

Certificate of Service ............................................................................... 84

Designation of Relevant District Court Documents ............................... 85




                                                     iii
{01997861-1}
               Case: 23-3565       Document: 22         Filed: 02/26/2024       Page: 5




                              TABLE OF AUTHORITIES

                                                                                                Page

Cases

Bracy v. Gramley,
  520 U.S. 899 (1997) ............................................................................. 76

Callanan v. United States,
  881 F.2d 229 (6th Cir. 1989) ............................................................... 39

Caperton v. A.T. Massey Coal Co.,
  556 U.S. 868 (2009) ....................................................................... 80, 81

Ciminelli v. United States,
  143 S. Ct. 1121 (2023) ......................................................................... 56

Citizens United v. FEC,
   558 U.S. 310 (2010) ............................................................................... 4

Dimora v. United States,
  973 F.3d 496 (6th Cir. 2020) ............................................... 5, 25, 39, 52

FEC v. Ted Cruz for Senate,
  142 S. Ct. 1638 (2022) ......................................................................... 46

French v. Jones,
  332 F.3d 430 (6th Cir. 2003) ............................................................... 22

Gall v. United States,
  552 U.S. 38 (2007) ............................................................................... 67

Gomez v. United States,
  490 U.S. 858 (1989) ............................................................................. 22

Henderson v. Frank,
  155 F.3d 159 (3d Cir. 1998) ................................................................ 22

                                                  iv
{01997861-1}
               Case: 23-3565       Document: 22        Filed: 02/26/2024       Page: 6




Holguin-Hernandez v. United States,
  140 S. Ct. 762 (2020) ........................................................................... 73

Kelly v. United States,
  140 S. Ct. 1565 (2020) ....................................................................... 4, 5

McCormick v. United States,
  500 U.S. 257 (1991) ..................................................................... passim

McCutcheon v. FEC,
  572 U.S. 185 (2014) ....................................................................... 44, 50

McDonnell v. United States,
  579 U.S. 550 (2016) ........................................................... 27, 29, 33, 38

Missouri v. Frye,
  566 U.S. 134 (2012) ............................................................................. 22

Mitchell v. Mason,
  325 F.3d 732 (6th Cir. 2003) ............................................................... 21

Percoco v. United States,
  143 S. Ct. 1130 (2023) ......................................................................... 56

Rippo v. Baker,
  580 U.S. 285 (2017) (per curiam)........................................................ 76

Rita v. United States,
   551 U.S. 338 (2007) ............................................................................. 72

Salinas v. United States,
  522 U.S. 52 (1997) ............................................................................... 42

United States v. Abbey,
  560 F.3d 513 (6th Cir. 2009) ............................................................... 44

United States v. Adams,
  722 F.3d 788 (6th Cir. 2013) ............................................................... 66

                                                  v
{01997861-1}
               Case: 23-3565       Document: 22       Filed: 02/26/2024       Page: 7




United States v. Bauer,
  82 F.4th 522 (6th Cir. 2023) ............................................................... 26

United States v. Bell,
  516 F.3d 432 (6th Cir. 2008) ............................................................... 60

United States v. Benjamin,
  No. 21-CR-706 (JPO), 2022 U.S. Dist. LEXIS 219044
  (S.D.N.Y. Dec. 5, 2022) ................................................................. 31, 51

United States v. Blandford,
  33 F.3d 685 (6th Cir. 1994) ................................................................. 45

United States v. Brewster,
  408 U.S. 501 (1972) ............................................................................. 33

United States v. Caseer,
  399 F.3d 828 (6th Cir. 2005) ............................................................... 41

United States v. Clark,
  No. 1:19-cr-148, 2020 WL 830057 (N.D. Ohio Feb. 20, 2020) ...... 62, 63

United States v. Cody,
  114 F.3d 772 (8th Cir. 1997) ............................................................... 36

United States v. Corsey,
  723 F.3d 366 (2d Cir. 2013) ................................................................ 72

United States v. Cronic,
  466 U.S. 648 (1984) ....................................................................... 17, 21

United States v. Dunnican,
  961 F.3d 859 (6th Cir. 2020) ............................................................... 57

United States v. Dunnigan,
  507 U.S. 87 (1993) ......................................................................... 70, 71



                                                 vi
{01997861-1}
               Case: 23-3565      Document: 22       Filed: 02/26/2024      Page: 8




United States v. Emmons,
  8 F.4th 454 (6th Cir. 2021) ................................................................. 26

United States v. Farrad,
  895 F.3d 859 (6th Cir. 2018) ............................................................... 57

United States v. Frost,
  125 F.3d 346 (6th Cir. 1997 .......................................................... 56, 57

United States v. Gay,
  522 F.2d 429 (6th Cir. 1975) ......................................................... 22, 23

United States v. Gooding,
  351 F.3d 738 (6th Cir. 2003) ............................................................... 40

United States v. Gullo,
  502 F.2d 759 (3d Cir. 1974) ................................................................ 65

United States v. Hazelwood,
  979 F.3d 398 (6th Cir. 2020) ............................................................... 59

United States v. Henderson,
  2 F.4th 593 (6th Cir. 2021) ................................................................... 4

United States v. Hills,
  27 F.4th 1155 (6th Cir. 2022) ....................................................... 53, 69

United States v. Inzunza,
  638 F.3d 1006 (9th Cir. 2011) ............................................................. 48

United States v. Jones,
  260 F. App’x 873 (6th Cir. 2008)......................................................... 68

United States v. Jones,
  641 F.3d 706 (6th Cir. 2011) ............................................................... 69

United States v. Kennedy,
  714 F.3d 951 (6th Cir. 2013) ............................................................... 40

                                               vii
{01997861-1}
               Case: 23-3565     Document: 22        Filed: 02/26/2024     Page: 9




United States v. Kilpatrick,
  798 F.3d 365 (6th Cir. 2015) ............................................................... 66

United States v. Lee,
  919 F.3d 340 (6th Cir. 2019) ................................................................. 4

United States v. Menendez,
  291 F. Supp. 3d 606 (D.N.J. 2018).......................................... 50, 51, 54

United States v. Moon,
  513 F.3d 527 (6th Cir. 2008) ............................................................... 67

United States v. Nosal,
  No. CR-08-0237 EMC, 2013 WL 11327121
  (N.D. Cal. Mar. 29, 2013) .............................................................. 62, 65

United States v. Paulus,
  952 F.3d 717 (6th Cir. 2020) ............................................................... 24

United States v. Payton,
  754 F.3d 375 (6th Cir. 2014) ............................................................... 74

United States v. Peters,
  512 F.3d 787 (6th Cir. 2008) ............................................................... 73

United States v. Pinson,
  860 F.3d 152 (4th Cir. 2017) ............................................................... 42

United States v. Presley,
  547 F.3d 625 (6th Cir. 2008) ............................................................... 75

United States v. Sadler,
  750 F.3d 585 (6th Cir. 2014) ......................................................... 41, 56

United States v. Sanders,
  95 F.3d 449 (6th Cir. 1996) ................................................................. 61



                                              viii
{01997861-1}
               Case: 23-3565    Document: 22        Filed: 02/26/2024     Page: 10




United States v. Sassanelli,
  118 F.3d 495 (6th Cir. 1997) ............................................................... 71

United States v. Saunders,
  325 F.2d 840 (6th Cir. 1964) ............................................................... 41

United States v. Siegelman,
  640 F.3d 1159 (11th Cir. 2011) ..................................................... 44, 47

United States v. Silver,
  948 F.3d 538 (2d Cir. 2020) .................................................... 29, 30, 53

United States v. Skelos,
  988 F.3d 645 (2d Cir. 2021) .................................................... 29, 30, 31

United States v. Smith,
  411 F.2d 733 (6th Cir. 1969) ............................................................... 22

United States v. Taylor,
  489 F. App’x 34 (6th Cir. 2012)........................................................... 23

United States v. Terry,
  707 F.3d 607 (6th Cir. 2013) ....................................................... passim

United States v. Thomas-Mathews,
  81 F.4th 530 (6th Cir. 2023) ............................................................... 72

United States v. Thornton,
  609 F.3d 373 (6th Cir. 2010) ......................................................... 61, 65

United States v. Tocco,
  200 F.3d 401 (6th Cir. 2000) ............................................................... 61

United States v. Toney,
  161 F.3d 404 (6th Cir. 1998) ............................................................... 36

United States v. Townsend,
  796 F.2d 158 (6th Cir. 1986) ............................................................... 61

                                               ix
{01997861-1}
               Case: 23-3565       Document: 22         Filed: 02/26/2024        Page: 11




United States v. Wade,
  388 U.S. 218 (1967) ............................................................................. 22

United States v. Walker,
  871 F.2d 1298 (6th Cir. 1989) ............................................................. 63

United States v. Warshak,
  631 F.3d 266 (6th Cir. 2010) ............................................................... 70

United States v. Watkins,
  509 F.3d 277 (6th Cir. 2007) ............................................................... 18

United States v. Wettstain,
  618 F.3d 577 (6th Cir. 2010) ............................................................... 41

Van v. Jones,
  475 F.3d 292 (6th Cir. 2007) ............................................. 18, 21, 23, 24

Williams v. Pennsylvania,
  579 U.S. 1 (2016) ................................................................................. 77

Statutes

18 U.S.C. § 1952 ...................................................................................... 54

18 U.S.C. § 1962(c) .................................................................................. 42

18 U.S.C. § 3231 ........................................................................................ 1

28 U.S.C. § 1291 ........................................................................................ 1

28 U.S.C. § 455(a) .................................................................................... 77

Ohio Rev. Code § 2961.02 ........................................................................ 75

Ohio Rev. Code § 3517.22(A)(2)............................................................... 55




                                                    x
{01997861-1}
               Case: 23-3565       Document: 22         Filed: 02/26/2024        Page: 12




Other Authorities

2000 Election Results, Ohio Supreme Court—Term Beginning January
     1, 2001: November 7, 2000, Ohio Sec’y of State,
     https://www.ohiosos.gov/elections/election-results-and-data/2000-
     elections-results/ohio-supreme-court---term-beginning-january-1-
     2001-november-7-2000 (last visited Feb. 19, 2024) ....................... 78

2002 Election Results, Justices of the Supreme Court of Ohio, Ohio Sec’y
     of State, https://www.ohiosos.gov/elections/election-results-and-
     data/2002-elections-results/justices-of-the-ohio-supreme-court/
     (last visited Feb. 19, 2024) ............................................................. 78

Pattern Crim. Jury Instr. 6th Cir. 2.01(3) .............................................. 64

Pattern Crim. Jury Instr. 6th Cir. 7.04, use note................................... 35

U.S.S.G. § 2C1.1 cmt. n.2 ........................................................................ 69

U.S.S.G. § 2C1.1(b)(2).............................................................................. 68

Rules

Fed. R. Evid. 401(a) ................................................................................. 58

Fed. R. Evid. 401(b) ................................................................................. 58

Fed. R. Evid. 403 ..................................................................................... 59

Fed. R. Evid. 609(a) ................................................................................. 63

Fed. R. Evid. 613(b) ................................................................................. 37

Constitutional Provisions

U.S. Const. amend. VI ............................................................................. 20

Articles

Andrew J. Tobias & Jake Zuckerman, Indicted Ohio lobbyist breaks
    silence during Householder trial testimony, Cleveland.com,
    available at https://www.cleveland.com/news/2023/02/indicted-


                                                   xi
{01997861-1}
               Case: 23-3565      Document: 22         Filed: 02/26/2024      Page: 13




         ohio-lobbyist-breaks-silence-during-householder-trial-
         testimony.html (Feb. 13, 2023) ...................................................... 36

Bill Bush, Under appeals court order, federal judge sentences John
     Raphael to 6 months in prison, Columbus Dispatch,
     https://www.dispatch.com/story/news/local/2023/07/11/democratic-
     operative-john-raphael-resentenced-to-serve-six-months-in-
     federal-prison-for-bribery/70398485007/ (July 11, 2023) .............. 74

Ian MacDougall, “Every Politician Has Got to Have Somebody That’s the
     Hitman,”                 New                       York                          Times,
     https://www.nytimes.com/2024/01/25/magazine/ohio-bribery-
     politics.html (Jan. 25, 2024)............................................................. 3

John McCarthy, Candidate pledges to shun outside help, Associated Press
     (Feb. 28, 2002) .......................................................................... 79, 81

Jon Craig & Katy Waters, Ohio Supreme Court; Battle of Independent TV
     Ads Gets Even Uglier, Columbus Dispatch, Nov. 1, 2002 at 1A ... 78

Jon Craig, Political-action committees make supreme court plans, The
     Columbus Dispatch, Sept. 28, 2002, at 3C .................................... 78

T.C. Brown, Celeste ex-aide works for secretive GOP court group, Plain
     Dealer, Sept. 6, 2002 at B2 ............................................................ 78

William Hershey, Some Try to Shine Public Disclosure Light on
      Campaigns, Dayton Daily News, Feb. 4, 2001 .............................. 79




                                                 xii
{01997861-1}
               Case: 23-3565   Document: 22     Filed: 02/26/2024   Page: 14




               STATEMENT REGARDING ORAL ARGUMENT

         Oral argument is appropriate in this case. The government charged

the then-Speaker of the Ohio House of Representatives, Larry House-

holder, with leading a racketeering bribery conspiracy. After a six-week

jury trial, Householder was convicted. Given the voluminous trial record,

the public interest in this case, and the complex legal issues on appeal—

including whether the government may convict a defendant based on un-

disclosed campaign contributions protected by the First Amendment—

Householder submits that oral argument would assist the Court in re-

solving this appeal.




                                         xiii
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 15




                       STATEMENT OF JURISDICTION

         The district court had jurisdiction under 18 U.S.C. § 3231 because

Appellant Larry Householder was charged with a federal crime. This

Court has jurisdiction under 28 U.S.C. § 1291 from the district court’s

final judgment: its judgment of conviction. (R. 288, Judgment, PageID

11308). Householder timely appealed the district court’s judgment. (R.

293, Notice of Appeal, PageID 11650).




                                          1
{01997861-1}
               Case: 23-3565    Document: 22   Filed: 02/26/2024   Page: 16




                               STATEMENT OF ISSUES

         1.     Did the district court violate Householder’s Sixth Amendment

rights by dismissing an impaneled trial juror ex parte and sua sponte?

         2.     Were the district court’s jury instructions erroneous?

         3.     Was the evidence sufficient to convict Householder?

         4.     Did the district court’s evidentiary errors prejudice House-

holder?

         5.     Was the district court’s maximum sentence of Householder

reasonable?

         6.     Should the district judge have recused?




                                           2
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 17




                                 INTRODUCTION

         The federal government was not content to charge the then-Speaker

of the Ohio House of Representatives, Appellant Larry Householder, with

ordinary honest-services bribery charges.1 Instead, it charged him with

leading a racketeering enterprise and tried him as a scapegoat for what

it viewed to be a corrupt piece of legislation supported by undisclosed

campaign contributions that were permitted by federal law. The govern-

ment did not charge—and still has not charged—any of the corporate ex-

ecutives who allegedly bribed Householder, nor did the government call

these alleged bribers as witnesses at trial. Instead, the government

rested most of its case on the testimony of its case agent, who testified for

over a week on direct examination about events for which he had no per-

sonal knowledge and by simply reading text messages and other




         1 In fact, its decision to charge Householder with a racketeering of-

fense was motivated by the Supreme Court’s recent caselaw limiting the
scope of the federal bribery laws: “David M. DeVillers, the United States
attorney for the Southern District of Ohio … ultimately decided to rely
on a statute whose use in corruption cases the Roberts court has yet to
pare back.” Ian MacDougall, “Every Politician Has Got to Have Somebody
That’s     the   Hitman,”      New    York    Times,      https://www.ny-
times.com/2024/01/25/magazine/ohio-bribery-politics.html      (Jan. 25,
2024).

                                          3
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 18




communications to which he was not a party. And the government pack-

aged its entire case in an unwieldy single-count racketeering conspiracy.

         The Supreme Court has repeatedly admonished federal prosecutors

that they are not the arbiters of good government for state officials: “Fed-

eral prosecutors may not use property fraud statutes to set standards of

disclosure and good government for local and state officials.” Kelly v.

United States, 140 S. Ct. 1565, 1574 (2020) (cleaned up). This case is just

the latest in a long line of cases in which federal prosecutors have over-

stepped the limits of their authority. The district court, however, never

heeded the defendants’ attempts to reign in these prosecutors. Instead,

the district court permitted the government to convict Householder and

his co-defendant by simply relying on undisclosed campaign contribu-

tions permitted by federal law and protected by the First Amendment,

Citizens United v. FEC, 558 U.S. 310 (2010). Unlike most other bribery

prosecutions, Householder did not receive an envelope of cash2 or




         2 See United States v. Lee, 919 F.3d 340, 357 (6th Cir. 2019) (public

official given cash); United States v. Henderson, 2 F.4th 593, 595-96 (6th
Cir. 2021) (prison guard received $500 in cash).

                                          4
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 19




extravagant gifts or trips.3 Rather, the government presented evidence

that Householder helped raised money into a 501(c)(4) organization, Gen-

eration Now. Under federal law and under the First Amendment, corpo-

rations can contribute unlimited monies to those organizations, which

are not required to disclose publicly the identity of the contributors.

         The government’s purpose was laid bare in its sentencing memo-

randum: “501(c)(4)s remain a tool for Ohio politicians to receive unlimited

payments – which are hidden from the public’s view – and potential ve-

hicles for bribery.” (R. 278, Govt. Sent. Mem., PageID 11010) (emphasis

added). Said differently, the government wanted and wants to deter cor-

porations and other donors from exercising their constitutional right to

contribute monies to 501(c)(4) organizations. That, however, is not the

function of federal prosecutors or criminal juries. See Kelly, 140 S. Ct. at

1574.

         The trial evidence showed that Householder was a longtime sup-

porter of public utilities and energy policy in Ohio. FirstEnergy Corp. and



         3 See Dimora v. United States, 973 F.3d 496, 499 (6th Cir. 2020)

(public official provided “with dinners, jewelry, a television and refriger-
ator, and a trip to Las Vegas that included flights, a hotel suite, gambling
money, and an encounter with a prostitute”).

                                          5
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 20




FirstEnergy Solutions Corp. were large Ohio energy companies that sup-

ported Householder. Although the evidence showed that those entities—

and others—contributed millions of dollars to Generation Now, there is

nothing criminal about that. Nor does it matter that Householder backed

an energy bill, House Bill 6, that FirstEnergy and FirstEnergy Solutions

supported too: “to hold that legislators commit” federal bribery offenses

“when they act for the benefit of constituents or support legislation fur-

thering the interests of some of their constituents, shortly before or after

campaign contributions are solicited and received from those beneficiar-

ies, is an unrealistic assessment of what Congress” intended. McCormick

v. United States, 500 U.S. 257, 272 (1991). The corruption laws require

an unambiguous agreement to sustain convictions based on campaign

contributions. There was no unambiguous agreement here. Yet, the dis-

trict court allowed the government to get to the jury and argue that the

jury should simply find “based on your common sense [if] bribery was

committed.” (R. 238, Tr. 24-3791, PageID 9484). This expansive interpre-

tation of the federal bribery laws would chill contributions “long been

thought to be well within the law”—the core concern in McCormick. 500

U.S. at 272.


                                          6
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 21




         This Court should vacate Householder’s conviction. The district

court’s errors were numerous and taken together they require vacatur.

                          STATEMENT OF THE CASE

         A.     Factual Background

                1.    Larry Householder

         In 2016, Larry Householder sought reelection to the Ohio House of

Representatives. (R. 217, Tr. 16-2549, PageID 7583). About 20 years ear-

lier, he had served as Speaker of the Ohio House. (R. 228, Tr. 21-3320,

PageID 8490). Householder was generally known to be a support of “the

utilities and energy producers in Ohio.” (R. 219, Tr. 17-2725-26, PageID

7826-27); (see also R. 224, Tr. 19-3051, PageID 8214).

         Sometime in late summer 2016, on the recommendation of Mike

Carey,4 Householder met with Jeff Longstreth about providing campaign

services to Householder. (R. 217, Tr. 16-2549-50, PageID 7853-54).

Householder’s plan at the time was to “run for Speaker” after the 2018

elections. (Id.). To do so, Householder needed to garner the support of

incumbent House members and “recruit candidates” to run for open


         4 At the time, Carey worked for Murray Energy (R. 197, Tr. 546,

PageID 5105); Carey is currently a U.S. congressman (R. 228, Tr. 21-
3331, PageID 8501).

                                          7
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 22




House seats. (Id.). So, he hired Longstreth to run that operation, which

eventually expanded to 25 or so people. (Id., PageID 7585).

         Householder was “excellent at fundraising.” (Id., PageID 7588). As

Longstreth explained, “[a]lmost everybody who is contributing to a polit-

ical campaign is contributing because they have an issue.” (Id., PageID

7589).

         In January 2019, Householder won a contentious race to be Speaker

of the Ohio House of Representatives. (R. 219, Tr. 17-2842, PageID 7943).

Shortly thereafter, the members of the House Republican Party met to

discuss priority pieces of legislation for the upcoming term. (See R. 224,

Tr. 19-3061, PageID 8224). One of those pieces of legislation was energy

legislation that ultimately became House Bill 6. (See id.).

                2.    FirstEnergy and FirstEnergy Solutions

         FirstEnergy Corp. is an Ohio-based energy company. (R. 194, Tr.

205, PageID 4751). At all times relevant to this case, Charles Jones was

its CEO and Michael Dowling was an executive in its external affairs (i.e.,

lobbying) department. (Id., PageID 4787).

         In 2016, FirstEnergy, through various corporate subsidiaries, had

three main business functions: energy transmission, distribution, and


                                          8
{01997861-1}
               Case: 23-3565   Document: 22   Filed: 02/26/2024   Page: 23




generation. (Id., PageID 4754). At that time, its generation business was

run through a subsidiary called FirstEnergy Solutions Corp. (“FES”),

which, among other things, operated the only two nuclear power plants

in Ohio. (Id.).

         But by 2016, FirstEnergy’s generation business (i.e., FES) was

“having financial complications.” (R. 194, Tr. 223, PageID 4769). So, in

September 2016, FirstEnergy’s board began to review strategic options

to exit the generation business. (Id., PageID 4769-70). One option dis-

cussed in FirstEnergy’s public annual 2016 shareholder report was a

“legislative or regulatory solution,” meaning FirstEnergy “would work

with, for example, the Ohio State Legislature to see if there was a way in

which there could be a financial solution to help” FES have enough cash

flow to keep the nuclear power plants open. (Id., PageID 4777). At that

time, FirstEnergy “attempted through the legislature and the [Ohio]

House to get ZEN legislation passed,” which was ultimately unsuccessful.

(R. 194, Tr. 233, PageID 4779). And another option, which FES eventu-

ally took, was to file bankruptcy. (Id., PageID 4781).

         Around that time in fall 2016, Householder encountered Jones at a

World Series game in Cleveland. (R. 217, Tr. 16-2597, PageID 7631); (R.


                                          9
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 24




228, Tr. 21-3334, PageID 8504). Jones apparently told Householder that

there was a “sense of urgency” about finding a solution for FES’ nuclear

power plants because if, according to Jones, there was not “some type of

supplant [sic] in first half of 2017 it will be too late.” (GX 212,5 App’x 3).

In response, Householder explained that “[w]e are more than ready to sit

down and craft something with Utilities that will make sense.” (Id.). At

that time, neither FirstEnergy nor FES had contributed anything to

Householder or Generation Now. (R. 228, Tr. 21-3341, PageID 8511); (see

also GX 16, App’x 2) (showing contributions to Generation Now).

         In March 2018, FES filed a petition for bankruptcy. (R. 194, Tr. 233,

PageID 4779). Before it did so, FES’ board of directors resigned and in-

dependent board members were appointed “to avoid even an appearance

of conflict.” (Id., PageID 4793-94).

                3.    Generation Now

         Generation Now was a 501(c)(4), a social welfare group that under

federal law was permitted to received unlimited contributions without



         5 References to “GX” are to the government’s admitted trial exhib-

its, references to “HX” are to Householder’s admitted trial exhibits, and
references to “App’x” are to appendix filed contemporaneously with this
brief.

                                          10
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 25




disclosing the identity of its contributors. (R. 194, Tr. 190-91, PageID

4736-37). Longstreth created Generation Now in early 2017 and made

the decision to do so on January 10, 2017. (R. 219, Tr. 17-2736, PageID

7837). In general, between 2017 and 2018, Generation Now was used by

Longstreth to help run the campaigns for the 2018 House election; it

helped pay for the infrastructure that was put in place to help recruit

candidates and get them elected. (R. 217, Tr. 16-2612, PageID 7646).

         Donors contributed to Generation Now. Between February 2017

and the November 2018 elections, donors contributed about $4.6 million

to Generation Now. (See GX 16, App’x 2). During that time, FirstEnergy6

and FES contributed $2.4 million to Generation Now, or about 52% of the

total contributions to it. (See id.).

         The money that Generation Now raised was spent. It was spent on

advertising and on the infrastructure to support Longstreth’s organiza-

tion that was trying to help Householder win the speakership in 2018.




         6 Some of FirstEnergy’s contributions were made through FirstEn-

ergy’s own 501(c)(4), Partners for Progress. For ease of reference,
“FirstEnergy” refers to FirstEnergy Corp. and Partners for Progress.

                                          11
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 26




                4.    House Bill 6

         House Bill 6 was introduced in the Ohio House of Representatives

in early April 2019. In simple terms, it “[c]reated a $9.25 credit for car-

bon-free generation,” a “chunk” of which “would probably go to the nu-

clear plants in Ohio.” (R. 217, Tr. 16-2516, PageID 7550). But the credit

the bill created “was available for other forms of generation” too. (Id.). In

addition, House Bill 6 eliminated certain energy efficiency mandates,

which effectively lowered the amounts consumers paid on their monthly

bills. (Id., PageID 7569-70).

         Between October 2018 and April 12, 2019 (when House Bill 6 was

introduced), neither FirstEnergy nor FES contributed anything to Gen-

eration Now. (See GX 16, App’x 2). After House Bill 6 was introduced,

FirstEnergy and FES’ contributions increased. FES’ independent board

recommended and approved contributing $40 million to Generation Now

between May and August 2019. (HX 392 at 42-43, App’x 68-69); (HX 403

at 2-3, App’x 116-17). FirstEnergy contributed another approximately

$15 million during that same period. (See GX 16, App’x 2).

         FirstEnergy and FES contributed these monies because Generation

Now was running a media campaign to support House Bill 6. (R. 217, Tr.


                                          12
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 27




16-2650-51, PageID 7684-85). To this end, Longstreth prepared budgets

to show the efforts that Generation Now would undertake to “educate

members and build public support for HB6.” (GX 462, App’x 4). And Gen-

eration Now spent the monies contributed on advertising and other me-

dia.

         Eventually, in late May 2019, House Bill 6 passed the Ohio House,

in mid July 2019 it passed the Ohio Senate, and Ohio’s governor, Mike

DeWine, signed House Bill 6 into law on the same day that it passed the

Ohio legislature. (GX 6, App’x 1); (R. 206, Tr. 9-1526-27, PageID 6203-

04).

         B.     Procedural Background

                1.    Indictment

         The government charged Householder, Matt Borges, Jeff Long-

streth, Juan Cespedes, Neil Clark, and Generation Now in a single-count

RICO conspiracy indictment. (R. 22, Indictment, PageID 1247-1289). Its

allegation: the monies FirstEnergy and FES contributed to Generation

Now were bribes. More specifically, the government alleged that the de-

fendants engaged in a pattern of racketeering through seven predicate

offenses: (1) public official honest services wire fraud (18 U.S.C. § 1346),


                                          13
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 28




(2) Hobbs Act extortion (18 U.S.C. § 1951), (3) Ohio state-law bribery

(Ohio Rev. Code § 2921.02), (4) private sector honest services wire fraud

(18 U.S.C. § 1346), (5) Travel Act (18 U.S.C. § 1952) through alleged vio-

lations of Ohio Rev. Code § 3517.22(A)(2), (6) money laundering (18

U.S.C. § 1956), and (7) engaging in monetary transactions with money

derived from unlawful activity (18 U.S.C. § 1957). (R. 22, Indictment ¶ 33,

PageID 1256-57).

         Longstreth and Cespedes pleaded guilty and agreed to cooperate

with the government. (R. 63, Cespedes Plea Agreement, PageID 1415-

1421); (R. 64, Longstreth Plea Agreement, PageID 1422-1428). Clark died

by suicide before trial. (R. 88, Order Dismissing Clark, PageID 1591). So,

Householder and Borges proceeded to trial in January 2023.

                2.    Trial

         The trial lasted 27 trial days. For about seven of those trial days,

the government’s lead case agent, Blane Wetzel, testified on direct exam-

ination. (R. 194, Tr. 268, PageID 4814) (beginning of direct); (R. 206, Tr.

9-1458, PageID 6135) (start of cross). Most of that examination consisted

of him simply reading text messages that he collected during his investi-

gation.


                                          14
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 29




         Householder put on a defense case and testified in his defense.

         Householder moved for a judgment of acquittal at the close of the

government’s case and the close of the evidence. (R. 224, Tr. 19-3036,

PageID 8199); (R. 229, Tr. 22-3646, PageID 8816). The district court de-

nied both motions. (R. 224, Tr. 19-3037-38, PageID 8201); (R. 229, Tr. 22-

3647, PageID 8817).

         The jury returned a guilty verdict. (R. 261, Verdict, PageID 10646).

                3.    Post-Trial Proceedings

         After Householder’s conviction, the district court sentenced House-

holder to the maximum term of imprisonment allowed by law: 240

months incarceration. (R. 288, Judgment, PageID 11308).

         Householder timely appealed. (R. 293, Notice of Appeal, PageID

11650).

                       SUMMARY OF THE ARGUMENT

         I.     A criminal defendant has a constitutional right to be repre-

sented by counsel at all critical stages of the trial. Selecting trial jurors

and then deciding whether those jurors—once impaneled and sworn—

should be dismissed from jury service are critical stages of a criminal

trial. The district court, ex parte and sua sponte, dismissed a trial juror.


                                          15
{01997861-1}
                Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 30




Because Householder’s counsel was excluded from that decision making

process, Householder was denied his Sixth Amendment right to counsel.

This violation is structural error and requires a new trial.

         II.     The district court must accurately instruct the jury on the law

that they must apply. The court failed its task here. Under this Court’s

caselaw, a bribery requires an agreement. The district court’s instruc-

tions failed to make that clear.

         III.    When campaign contributions are alleged to be bribes, courts

demand proof of an unambiguous quid pro quo. The government failed to

show one here. Its evidence was, therefore, insufficient.

         IV.     To be admissible, evidence must be relevant and not unfairly

prejudicial. The district court admitted two highly inflammatory record-

ings of Householder and permitted the jury to hear that two of House-

holder’s co-defendants pleaded guilty, even though Householder stipu-

lated that he would not impeach those witnesses with their pleas. The

district court’s decision was error and it prejudiced Householder.

         V.      A district court’s sentence must be reasonable. The district

court here calculated Householder’s offense level by adding 22 levels

based on the value of the bribe. But the value of the bribe was not $60


                                           16
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 31




million. Because the judge incorrectly calculated the Sentencing Guide-

lines range, this case should, at a minimum, be remanded for resentenc-

ing.

         VI.    If the probability of actual bias on the part of the judge is too

high to be constitutionally tolerable, the judge must recuse. Here, the

district judge ran for the Ohio Supreme Court, was opposed by House-

holder, who helped raise money into political advocacy groups that did

not have to disclose their donors, and those groups too opposed Judge

Black’s election to Ohio’s high court. Because there was an appearance of

impropriety, Judge Black should have recused.

                                   ARGUMENT

I.       The district court’s ex parte and sua sponte dismissal of a
         juror violated Householder’s Sixth Amendment rights.

         “Lawyers in criminal cases are necessities, not luxuries. Their pres-

ence is essential because they are the means through which the other

rights of the person on trial are secured.” United States v. Cronic, 466

U.S. 648, 653 (1984) (internal quotation marks and footnote omitted).

The “other rights” of a defendant secured through counsel include the

right to assert legal positions on the selection of trial jurors and whether

those jurors should be excused once impaneled. By adjudicating these

                                          17
{01997861-1}
               Case: 23-3565   Document: 22      Filed: 02/26/2024    Page: 32




crucial legal matters sua sponte and ex parte, the district court completely

denied Householder his Sixth Amendment right to counsel at a “critical

stage” of the proceeding. See Van v. Jones, 475 F.3d 292, 313 (6th Cir.

2007). The remedy is reversal and a new trial “without analysis for prej-

udice or harmless error.” Id. at 311-12 (citations omitted).

         A.     The standard of review is de novo.

         This Court reviews constitutional challenges de novo. United States

v. Watkins, 509 F.3d 277, 280 (6th Cir. 2007).

         B.     The district court dismissed a trial juror ex parte.

         Before trial, the parties litigated voir dire procedures, including the

jury questionnaire the district court would send to prospective jurors be-

fore trial.7 Householder proposed that the court use a “robust question-

naire” to give him a “a full and fair opportunity to explore the biases and

prejudices of prospective jurors.” (R. 292-1, Am. Order Completing Rec-

ord, PageID 11538); (see id., PageID 11550-60) (Householder’s proposed

questionnaire).        Ultimately,    the     district    court      issued   a   sparer



         7 The district court sent two questionnaires to prospective jurors:

one to determine their availability to sit for a lengthy trial and a second,
more substantive questionnaire. (See R. 292-1, Am. Order Completing
Record, PageID 11573).

                                            18
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 33




questionnaire without many of Householder’s proposed questions. (See

id., PageID 11570). And before trial, Householder’s counsel requested

that they be permitted to question the venire during voir dire, which the

district court permitted. (R. 182, FPC Tr. 70-71, PageID 4440-41).

         Before voir dire, the district court explained that it intended to sit

16 jurors—12 trial jurors and 4 alternates. (R. 298, Voir Dire Tr. 4,

PageID 11664). Voir dire lasted an entire day, and all parties used all

their peremptory strikes before the district court impaneled and swore

the jurors ultimately selected.

         During trial, the district court—without asking for any of the par-

ties’ input—excused a trial juror, Juror No. 4. After about two days of

trial, a trial juror tested positive for COVID-19, and the district court

continued trial for about a week and required the jurors to take COVID

tests. (R. N/A, Not. Order, Jan. 29, 2023) (continuing trial). At 3:25 pm

on the following Monday, January 30, the district court, via email, in-

formed counsel that one of the trial jurors—Juror No. 4—had not received

the results from his COVID test,8 would not wear a mask if ordered by


         8 As the district court acknowledged, Juror No. 4 had not tested

positive for COVID and was not symptomatic. (R. 292-2, Am. Order Com-
pleting Record, PageID 11630).

                                          19
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 34




the court, and would be “[un]available to serve any longer than 4:30 p.m.

on Friday, March 3.” (R. 292-2, Am. Order Completing the Record,

PageID 11630). Without asking any party for their input, “the Court has

decided to cut this juror now, and to return tomorrow with 15 jurors.”

(Id.) (emphasis added). An hour and a half later, Householder’s counsel

responded to the email and “respectfully request[ed] that the record re-

flect an objection to the sua sponte discharge of juror # 4 without the

Court having at first consulted with the parties.” (Id., PageID 11643).

Counsel explained that if they had been consulted, “there could have been

a less extreme options to deal with the juror and his issues than dismissal

and we were not given the opportunity to present these options to the

Court.” (Id., PageID 11636). The following day, court resumed with 15

jurors, as the district court had indicated in its email. (R. 197, Tr. 383,

PageID 4942).

         C.     Householder’s Sixth Amendment rights were violated.

         Under the Sixth Amendment, criminal defendants have the right

to the assistance of counsel for their defense. U.S. Const. amend. VI.

Thus, when defense counsel is excluded from a critical stage of a criminal

proceeding, it is a per se Sixth Amendment violation. United States v.


                                          20
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 35




Cronic, 466 U.S. 648, 659 n.25 (1984). In Van v. Jones, this Court ex-

plained that a stage is critical when “there [is] a reasonable probability

that [the defendant’s] case could suffer significant consequences from his

total denial of counsel at that stage.” 475 F.3d 292, 313 (6th Cir. 2007).

And if this right is violated, it is structural error: “It is settled that a

complete absence of counsel at a critical stage of a criminal proceeding is

a per se Sixth Amendment violation warranting reversal of a conviction,

a sentence, or both, as applicable, without analysis for prejudice or harm-

less error.” Id. at 311-12 (emphasis added).

         Jury selection and dismissal are critical stages of a criminal pro-

ceeding. This Court has defined a “critical stage” as one in which there is

“a reasonable likelihood” that “significant consequences” will arise “from

complete absence of counsel.” Van, 475 F.3d at 313. The “reasonable like-

lihood” test examines the nature of the proceeding from which counsel

was excluded, not its specific result. Id. at 314 (critical stage inquiry

“should focus not only on the specific case before us, but the general ques-

tion of whether such a stage is ‘critical’”). Critical stages include (1) the

period between arraignment and trial, see Mitchell v. Mason, 325 F.3d

732, 741-43 (6th Cir. 2003); (2) a pretrial suppression hearing, see


                                          21
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 36




Henderson v. Frank, 155 F.3d 159, 169-72 (3d Cir. 1998); (3) a postindict-

ment lineup, see United States v. Wade, 388 U.S. 218, 236-37 (1967); (4)

pretrial plea negotiations, see Missouri v. Frye, 566 U.S. 134, 140-41

(2012); (5) reinstruction of a jury, see French v. Jones, 332 F.3d 430, 436

(6th Cir. 2003); and (6) return of a verdict, see United States v. Smith,

411 F.2d 733, 736 (6th Cir. 1969).

         Dismissing a juror after he has been impaneled is a critical stage of

a criminal proceeding. To begin, it is crystal clear that jury selection is “a

critical stage of the criminal proceeding.” Gomez v. United States, 490

U.S. 858, 873 (1989). And in United States v. Gay, this Court held a dis-

trict court erred in “engag[ing] in discussions with members of the jury

after it was impaneled and [ ] consider[ing] requests for excuses out of

the presence of the defendant and without giving notice to defense coun-

sel.” 522 F.2d 429, 435 (6th Cir. 1975).9 There, between voir dire and

opening statement, the district court excused three jurors without in-

forming the defense. Id. at 434. The judge had apparently received


         9 In Gay, this Court analyzed the issue under Rule 43 of the Federal

Rules of Criminal Procedure, which requires the defendant’s appearance
at every stage of trial. 522 F.2d at 434-35. Whether analyzed under that
rule or under the Sixth Amendment, the district court’s actions here were
error and require reversal and a new trial.

                                          22
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 37




requests from those jurors to be excused from jury service, and the judge

excused those jurors without giving the defense the opportunity to be

heard or to object. Id. This Court reversed and remanded for a new trial.

         This case is on all fours with Gay. As in that case, the district court

engaged in discussions with at least some of the impaneled jurors and

excused Juror No. 4 without allowing Householder the opportunity to be

heard. (R. 292-2, Am. Order Completing the Record, PageID 11644).

That’s error under Gay and under the Sixth Amendment caselaw cited

above.

         Gay shows that dismissing an impaneled trial juror is a critical

stage in a criminal proceeding. A critical stage of the proceeding is simply

one where “there [is] a reasonable probability that [the defendant’s] case

could suffer significant consequences from his total denial of counsel at

that stage.” Van, 475 F.3d at 313. By holding that the judge’s ex parte

and sua sponte dismissal of three trial jurors violated the defendant’s

rights under Rule 43, Gay, 522 F.2d at 434-35, this Court implicitly held

that the dismissal of an impaneled trial juror is a critical stage of the

proceeding, see United States v. Taylor, 489 F. App’x 34, 43 (6th Cir. 2012)

(noting that Rule 43 only implicates a defendant’s “right to be present at


                                          23
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 38




critical stages of the proceedings”) (emphasis added). And even without

Gay, a district court’s decision to dismiss an impaneled trial juror is cer-

tainly a proceeding where a defendant “could suffer significant conse-

quences from his total denial of counsel at that stage.” Van, 475 F.3d at

313. The consequence is self-evident: the district court may excuse a juror

the parties, through voir dire, selected to sit. Although the district court

may have dismissed the juror anyway even it asked for Householder’s

counsel’s input, “it takes the risk of making erroneous decisions that will

unfairly disadvantage the defendant.” United States v. Paulus, 952 F.3d

717, 724 (6th Cir. 2020). As a result, the district court here denied House-

holder his Sixth Amendment right to counsel by sua sponte dismissing a

trial juror ex parte.

         The district court’s rationale for its actions is faulty. Although it

told counsel for all parties at 3:25 pm on January 30 that it had “decided

to cut [Juror No. 4] now, and to return tomorrow with 15 jurors,” (R. 292-

2, Am. Order Completing Record, PageID 11640) (emphasis added), it

then tried explained—in both email communications with counsel and on

the record the following day—that it did not mean what it said. After

Householder’s counsel objected, (see id., PageID 11643), the court said


                                          24
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 39




despite what it had already said (i.e., that it had “decided to cut this juror

now”) that it “had not excused the juror” until speaking with House-

holder’s counsel. (Id.). But, as Householder’s counsel informed the court

the following trial day, that was not accurate: “what I am suggesting to

the Court is that [ ] it was communicated to the Householder team that

Juror No. 4 was already dismissed.” (R. 197, Tr. 388, PageID 4947). The

court’s email makes that clear: it had already decided, without awaiting

the input of Householder’s counsel, to dismiss Juror No. 4 and return

with one fewer juror.

         The district court’s actions in dismissing Juror No. 4 violated

Householder’s Sixth Amendment rights. Under Gay, it violated his rights

under Rule 43 too. Both errors warrant reversal without the requirement

that Householder show prejudice.

         This Court should reverse and remand for a new trial.

II.      The district court improperly instructed the jury.

         A.     The standard of review is de novo and abuse of discre-
                tion.

         “A trial court’s jury instructions must, as a whole, accurately reflect

the law.” Dimora v. United States, 973 F.3d 496, 502 (6th Cir. 2020)

(cleaned up). This Court generally reviews “challenges to jury

                                          25
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 40




instructions under the abuse of discretion standard,” but it reviews “the

legal accuracy of jury instructions de novo.” United States v. Bauer, 82

F.4th 522, 529 (6th Cir. 2023) (cleaned up). In so doing, the Court looks

“at the instructions as a whole, in order to determine whether they ade-

quately informed the jury of the relevant considerations and provided a

basis in law for aiding the jury in reaching its decision.” United States v.

Emmons, 8 F.4th 454, 470 (6th Cir. 2021) (cleaned up). And it reverses if

“the instructions, viewed as a whole, were confusing, misleading, or prej-

udicial.” Id. (cleaned up).

         B.     The district court’s bribery instructions were wrong.

         The key defining element of bribery is an agreement. But the dis-

trict court’s instructions did not adequately convey that requirement. The

judge improperly instructed the jury in at least four ways. First, by inad-

equately explaining the agreement requirement. Second, by failing to in-

form the jury that it needed to find that at the time Householder accepted

payment he agreed to take official action on a specific and focused ques-

tion or matter that was identified at that time. Third, by allowing the

jury to convict if it only found a bribery by implication. And, fourth, by




                                          26
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 41




broadly defining the state-law bribery predicate in violation of McCor-

mick and McDonnell.

         1. Start with an agreement. “[A]n agreement is the key component

of a bribe.” United States v. Terry, 707 F.3d 607, 614 (6th Cir. 2013). “To

hold otherwise,” the Supreme Court has explained, “would open to pros-

ecution not only conduct that has long been thought to be well within the

law but also conduct that in a very real sense is unavoidable.” McCormick

v. United States, 500 U.S. 257, 272 (1991). Without an agreement require-

ment, federal bribery law would cast a “pall of potential prosecution” over

all officials. McDonnell v. United States, 579 U.S. 550, 574 (2016). It

would be far too easy to allege that any benefit provided to an official by

lobbyists or others was received by the official with improper intent.

         The district court did not explain this agreement requirement to

the jury.10 It told the jury to find the public official bribery predicates that

the jury needed to find a bribery exchange, meaning “either: one, a public

official’s solicitations of things of value in exchange for performing or



         10 Householder objected to the government’s proposed instruction

because it “does not adequately convey that honest services wire fraud
requires an agreement between the payor and the public official.” (R.
193, Defs.’ Objections to Govt. Jury Instructions, PageID 4699).

                                          27
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 42




agreeing to perform specific official action; or two, a public official’s re-

ceipt of things of value when the public official knows that the person

who gave the thing of value was doing so in return for the public official

performing or agreeing to perform a specific official action.” (R. 237, Tr.

3728, PageID 9421) (emphasis added).11 This multi-part bribery defini-

tion is erroneous. The district court’s definition rejected the requirement

that a bribery is an agreement between the briber and bribee; its defini-

tion permitted the jury to find a bribery if Householder, as the govern-

ment urged during closing, simply “receive[d] money knowing that the

bribe payor is giving that money with the expectation that they will get

legislation or official action, that’s bribery.” (R. 238, Tr. 24-3791, PageID

9484). In other words, the government insisted the jury find a bribery if

Householder “receive[d] the money knowing that the expectation was leg-

islation in return.” (Id., PageID 9485). But an expectation is not, by defi-

nition, an agreement. What is required is an objective, agreed-upon ex-

change. Whether one calls it a promise, an agreement, or an




         11 The court told the jury that its instructions of bribery applied to

the Hobbs Act extortion predicate too. (R. 237, Tr. 3735, PageID 9428)

                                          28
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 43




understanding, there must be an express or implicit this for that. McCor-

mick, 500 U.S. at 273. That is the essence of bribery—not a generalized

expectation.

         2. A district court errs if its instructions permit the jury to find a

bribery based on “an open-ended promise to perform official actions for

the benefit of the payor.” United States v. Silver, 948 F.3d 538, 559 (2d

Cir. 2020); see also United States v. Skelos, 988 F.3d 645, 656 (2d Cir.

2021) (finding error where the jury was not required to find that “at the

time the defendant accepted the relevant payment, he understood he was

expected ‘to take official action on a specific and focused question or mat-

ter as the opportunities to take such action arose’”) (emphasis added).

Householder asked the district court, consistent with Silver and Skelos,

to instruct that “this explicit quid pro quo agreement must exist at the

time, at the time that the bribe was paid. It cannot be formed later.” (R.

237, Tr. 23-3661, PageID 9354). The government objected, claiming that

this proposal was “not consistent with the law.” (Id., PageID 9356). But

see McDonnell v. United States, 579 U.S. 550, 572-73 (2016) (“It is up to

the jury, under the facts of the case, to determine whether the public of-

ficial agreed to perform an ‘official act’ at the time of the alleged quid pro


                                          29
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 44




quo.”) (emphasis added). The district court ultimately refused to give

Householder’s instruction.

         The district court’s refusal is error. As explained above, McDonnell,

Silver, and Skelos require that a jury must be instructed that bribery only

occurs if the public official at the time of the relevant payment agrees to

perform some specific official act. See Silver, 948 F.3d at 568 (“the jury

should have been instructed that, to convict on honest services fraud, the

Government must prove that, at the time the bribe was accepted, Silver

promised to take official action on a specific and focused question or mat-

ter as the opportunities to take such action arose”); Skelos, 988 F.3d at

656 (“Although the jury was properly instructed that, for an act to qualify

as an ‘official act,’ it must be taken on a ‘question or matter [that is] spe-

cific, focused, and concrete,’ the jury was not required to find that Skelos

and the bribing party shared a specific enough understanding of the ques-

tion or matter upon payment.”). Like in Silver and Skelos, the district

court instructed the jury that it was enough if “the public official under-

stood the agreement was to take a specific official action on the payor’s

behalf when the opportunity presented itself.” (R. 237, Tr. 23-3730,

PageID 9423). But this left open the possibility that the jury could find


                                          30
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 45




that Householder was expected to take official action “on any question or

matter in return for the payment.” Skelos, 988 F.3d at 656. This rendered

the instruction erroneous.

         3. Next, proving the bribery by implication. The Supreme Court’s

caselaw says the government may not prove explicit quid pro quos

through circumstantial evidence or by implication. See McCormick v.

United States, 500 U.S. 257, 273 (1991); United States v. Benjamin, No.

21-CR-706 (JPO), 2022 U.S. Dist. LEXIS 219044, at *33 (S.D.N.Y. Dec.

5, 2022) (“The Court concludes that, for criminal liability for bribery in

the context of campaign contributions, there must be a quid pro quo that

is clear and unambiguous, meaning that (1) the link between the official

act and the payment or benefit — the pro — must be shown by something

more than mere implication, and (2) there must be a contemporaneous

mutual understanding that a specific quid and a specific quo are condi-

tioned upon each other.”). The district court, however, told the jury the

exact opposite: it could rely on circumstantial evidence to convict and that

bribery could be proven by “knowing winks and nods.” (R. 237, Tr. 23-

3729, PageID 9422). Householder objected. (R. 193, Defs.’ Objections to




                                          31
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 46




Govt.’s Instructions, PageID 4700). The district court erred in giving the

instruction and not sustaining Householder’s objection.

         4. State law bribery. The district court erred in instructing the jury

on the Ohio state law bribery predicate. Householder objected to this in-

struction. (R. 237, Tr. 23-3678, PageID 9371). Unlike with the honest ser-

vices fraud and Hobbs Act predicates, the district court included none of

the guardrails the Supreme Court erected to ensure that criminal corrup-

tion statutes do not infringe on core political speech. Instead, the court

merely instructed that to find this predicate, the jury find that a public

servant (1) “knowingly solicit[] or accept[] for himself any valuable thing

or valuable benefit,” (2) “intend[] the valuable thing or benefit to corrupt

or to improperly influence him,” and (3) “that the corruption or influence

was with respect to the discharge of his duties as a public servant.” (R.

237, Tr. 23-3741-42, PageID 9434-35). The court did not tell the jury that

it must find an explicit agreement, a specific official act, or give any lim-

iting principle the Supreme Court has required be set forth to avoid First

Amendment issues and avoid criminalizing everyday political activity.

The Supreme Court has strictly limited bribery law to “quid pro quo cor-

ruption—the exchange of a thing of value for an ‘official act.’” McDonnell


                                          32
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 47




v. United States, 579 U.S. 550, 575 (2016). The provision of benefits to an

official to curry favor is thus lawful—both to give and receive—unless

made in exchange for official action. For this reason, cases from the Su-

preme Court, e.g., United States v. Brewster, 408 U.S. 501, 526 (1972),

and this Court, e.g., United States v. Terry, 707 F.3d 607, 614 (6th Cir.

2013), describe bribery as requiring an explicit “agreement” to undertake

specific official action in exchange for a bribe.

         The district court’s instruction did not convey this agreement re-

quirement—let alone the explicit agreement requirement for campaign

contribution cases, like this one. Instead, the court’s instruction permit-

ted the jury to convict if it found that the public official simply solicited

or accepted valuable benefits. This was error.

         The district court erred in refusing to impose the official act and

agreement requirements to the state-law bribery offenses.

         C.     The district court improperly instructed the jury that
                the government impeached a defense witness.

         1. Background. At trial, one of the government’s cooperating wit-

ness, Juan Cespedes, testified about a meeting with Householder on Oc-

tober 10, 2018 that he attended, along with David Griffing (an FES exec-

utive), Geoff Verhoff (an Akin Gump lobbyist who was lobbying on FES’

                                          33
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 48




behalf), and Robert Klaffky (an Ohio lobbyist who was lobbying on FES’

behalf too). (See R. 211, Tr. 1893, PageID 6777). According to Cespedes,

at this meeting, in which a $400,000 check made payable to Generation

Now was delivered to Householder, Klaffky slide the check under House-

holder’s hand and “kind of infers that, you know, obviously, you know,

we’re here to support you.” (Id., PageID 6780). In response, according to

Cespedes, Householder gave “very strong verbals and nonverbals that he

would introduce -- in fact, introduce legislation.” (R. 212, Tr. 12-2082,

PageID 6966). Although Griffing, Verhoff, and Klaffky also attended this

meeting, the government did not call those witnesses to testify about

their recollection of the meeting, and the government never even both-

ered to interview Verhoff or Klaffky. (R. 229, Tr. 22-3639, PageID 8809);

(R. 228, Tr. 21-3261, PageID 8431).

         So, Householder called Klaffky to testify during the defense case.12

Klaffky testified that he did not recall specifically what was discussed at

the October 10th meeting with Householder (R. 228, Tr. 21-3249, PageID



         12 Householder also subpoenaed and planned to call Verhoff. But

after the government spoke with Verhoff’s counsel, Householder’s coun-
sel was informed that he would exercise his Fifth Amendment right. (R.
225, Tr. 20-3167, PageID 8330).

                                          34
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 49




8419), but he did not believe that the meeting was “pay to play.” (Id.,

PageID 8426).

         During the government’s cross-examination, it tried to impeach

Klaffky with statements that he made to a newspaper. But, for the rea-

sons outlined below, it utterly failed to impeach him. (See id., PageID (R.

228, PageID 8453-56). Despite this, the district court instructed the jury

that the government had impeached Klaffky.

         2. The district court’s erroneous instruction. Over Householder’s ob-

jection (R. 237, Tr. 23-3685, PageID 9378), the district court instructed

the jury that the government impeached Klaffky with a prior inconsistent

statement (Id., PageID 9444-45). This was error for at least two reasons.

First, the government never even admitted Klaffky’s alleged prior incon-

sistent statement. And, second, the government did not establish any in-

consistency.

         Start with whether the government admitted the supposedly incon-

sistent statement. The pattern instruction the district court gave says

that it should be “given when a prior inconsistent statement” that was

not made under oath “has been admitted.” Pattern Crim. Jury Instr. 6th

Cir. 7.04, use note (emphasis added). The government tried to impeach


                                          35
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 50




Klaffky with statements that he made to a news reporter. (R. 228, Tr. 21-

3283-86, PageID 8453-56). But the government never moved to admit

those extrinsic statements or the news article.13 Absent any “extrinsic

proof” of these statements, it was error for the district court to give the

impeachment instruction. United States v. Toney, 161 F.3d 404, 410 (6th

Cir. 1998) (finding it error to give the instruction when “the government

[did not] offer any extrinsic proof of the alleged inconsistent statements”).

         Nor did the government show that any of Klaffky’s statements to

the news media were inconsistent with his trial testimony. “Under Fed-

eral Rule of Evidence 613, before a party may impeach a witness with a

prior inconsistent statement, the party must first establish that the wit-

ness’s statement is actually inconsistent with, although not necessarily

‘diametrically opposed’ to, the prior statement.” United States v. Cody,

114 F.3d 772, 776 (8th Cir. 1997). Each time the government questioned

Klaffky about what he told the reporters, Klaffky admitted that he made



         13 Because the government never moved to admit the article, it is

outside the record. But this is the article: Andrew J. Tobias & Jake Zuck-
erman, Indicted Ohio lobbyist breaks silence during Householder trial tes-
timony,      Cleveland.com,        available      at     https://www.cleve-
land.com/news/2023/02/indicted-ohio-lobbyist-breaks-silence-during-
householder-trial-testimony.html (Feb. 13, 2023).

                                          36
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 51




the statement. (See R. 228, Tr. 21-3283-86, PageID 8453-56). And the

government did not otherwise show that anything Klaffky told the re-

porters was inconsistent with his trial testimony. At the charge confer-

ence, the government simply offered that Klaffky “didn’t say it at the

start and then he was only -- he ultimately agreed with it after being

cross-examined on a prior statement. So his prior testimony he did not

include this. So his prior testimony was impeached, although he ulti-

mately agreed with what he was impeached with.” (R. 237, Tr. 23-3685,

PageID 9378) (emphasis added). But the government never explained the

inconsistency; it never explained what Klaffky did not say. Indeed, he

testified, consistent with his statements to the reporters, that he did not

recall what was exactly said at an October 10, 2018 meeting. (See R. 228,

Tr. 21-3285, PageID 8455) (on cross, Q: “But you say you couldn’t remem-

ber to the newspaper and you said you couldn’t remember this morning?”

A: “Yeah.”); (Id., Tr. 21-3249, PageID 8419) (Klaffky testifying, on direct

examination, that he “can’t remember” “discussing campaigns” at the

meeting). That’s not impeachment. See Fed. R. Evid. 613(b). The govern-

ment bore the burden of showing that it impeached Klaffky with some

prior inconsistent statement. It failed that task.


                                          37
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 52




         Because the government never properly impeached Klaffky and

never even tried to admit the allegedly impeaching statement, the dis-

trict court erred by telling the jury that it “heard that before this trial he

made a statement that may be different from his testimony here in

court.” (R. 237, Tr. 23-3751-52, PageID 9444-45).

         D.     These errors were not harmless.

         If the district court’s instructions may have permitted the jury to

convict “for conduct that is not unlawful,” its erroneous instructions can-

not be “harmless beyond a reasonable doubt.” McDonnell v. United

States, 579 U.S. 550, 579-80 (2016) (cleaned up). That’s the case here.

The government’s theory was that FirstEnergy bribed Householder. Be-

cause the district court improperly instructed the jury on this point, it

permitted the jury to convict based on conduct that is not unlawful.

         That’s especially true for the state-law bribery predicate. As ex-

plained above, the district court’s instruction permitted the jury to find

that predicate if it simply found that Householder accepted a “valuable

thing” and that he intended it to “improperly influence him” in the “dis-

charge of his duties.” (R. 237, Tr. 23-3741-42, PageID 9434-35). No agree-

ment requirement, no explicit quid pro quo requirement, and no official


                                          38
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 53




act requirement. This is like the cases after McDonnell that found in-

structional error when the instructions were “overinclusive” on what acts

counted as official acts. Dimora v. United States, 973 F.3d 496, 504 (6th

Cir. 2020) (collecting cases). But this is even worse, unlike those cases,

the district court’s instructions permitted the jury to find the state-law

bribery predicate without any quid pro or agreement. This error was not

harmless.

         The remaining predicates do not save the conviction. To start, the

government only argued to the jury that Householder’s role was limited

to the public official bribery predicates and the money-laundering predi-

cates. (R. 238, Tr. 24-3787-88, PageID 9480-81). And absent the public

official bribery predicates, there were no proceeds for the money-launder-

ing predicates.

         Even so, a RICO conspiracy conviction cannot stand if some of the

predicates are deficient. See Callanan v. United States, 881 F.2d 229, 235

(6th Cir. 1989). The district court’s erroneous substantive instructions

were not harmless.

         The district court’s impeachment instruction was not harmless ei-

ther. The parties hotly contested what happened at the October 10, 2018


                                          39
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 54




meeting, and they put up competing versions of the meeting: Cespedes’s

account for the government and Klaffky and Householder’s account for

the defense. During closing argument, the government urged the jury to

credit Cespedes’s version, not Klaffky’s. (R. 238, Tr. 24-3809-10, PageID

9502-03). And without question, the jury must have been influenced by

the court’s instruction that it consider whether Klaffky made an uniden-

tified inconsistent statement before trial. After all, the court’s instruction

specifically identified him and his testimony. The district court’s im-

proper instruction was not harmless.

III. The evidence was insufficient to convict Householder.

         A.     The standard of review is whether any reasonable jury
                could find the essential elements beyond a reasonable
                doubt.

         “[T]he standard of review on appeal for an insufficient-evidence

challenge is whether, after viewing the evidence in the light most favor-

able to the prosecution, any rational trier of fact could have found the

essential elements of the crime beyond a reasonable doubt.” United States

v. Kennedy, 714 F.3d 951, 956-57 (6th Cir. 2013) (cleaned up). This Court

does not weigh the evidence nor assess the credibility of the witnesses.

United States v. Gooding, 351 F.3d 738, 741 (6th Cir. 2003). “[It] will


                                          40
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 55




reverse a judgment based on a finding of insufficient evidence only if the

judgment is not supported by substantial and competent evidence upon

the record as a whole.” United States v. Wettstain, 618 F.3d 577, 583 (6th

Cir. 2010). And it “make[s] all reasonable inferences in support of the

jury’s verdict.” Id.

         Although a defendant challenging his conviction carries a “very

heavy” burden, the burden is not insurmountable. See, e.g., United States

v. Sadler, 750 F.3d 585, 590-92 (6th Cir. 2014) (reversing wire fraud con-

viction). After all, “[i]f the evidence … gives equal or nearly equal circum-

stantial support to a theory of guilt and a theory of innocence, we must

reverse the conviction, as under these circumstances a reasonable jury

must necessarily entertain a reasonable doubt.” United States v. Caseer,

399 F.3d 828, 840 (6th Cir. 2005) (citations omitted); see also United

States v. Saunders, 325 F.2d 840, 843 (6th Cir. 1964) (“Evidence that at

most establishes no more than a choice of reasonable probabilities cannot

be said to be sufficiently substantial to sustain a criminal conviction upon

appeal.”).




                                          41
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 56




         B.     The evidence was insufficient to convict Householder.

         Householder was charged with and convicted of a single count:

RICO conspiracy. The government’s burden in proving a violation of the

conspiracy offense, section 1962(d), is to show that the defendant “knew

about and agreed to facilitate” a substantive RICO violation. Salinas v.

United States, 522 U.S. 52, 66 (1997). So, conspiracy to violate subsection

(c) requires proof that the defendant knew about and agreed to facilitate

“the conduct of [an] enterprise’s affairs through a pattern of racketeering

activity.” 18 U.S.C. § 1962(c).

         Although the government does not need to prove that the defendant

“himself commit[ted] or agree[d] to commit the two or more predicate acts

requisite to the underlying offense,” Salinas, 522 U.S. at 65, it must show

“that the racketeering predicates are related, and that they amount to or

pose a threat of continued criminal activity,” United States v. Pinson, 860

F.3d 152, 163 (4th Cir. 2017) (quotations omitted) (vacating RICO con-

spiracy conviction).

         The government’s evidence was insufficient to prove that House-

holder “agreed that either he or another member of the conspiracy would

commit at least two racketeering activities.” (R. 237, Tr. 23-3725, PageID


                                          42
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 57




9418). The court instructed the jury that the racketeering acts at issue

were seven different predicates. (Id., PageID 9418-19). In closing argu-

ment, the government put these predicates into three buckets: (1) public

official bribery, (2) private sector bribery (relating to Defendant Borges’s

“bribe of Tyler Fehrman”), and (3) money laundering. (Tr. 238, Tr. 24-

3786-87, PageID 9479-80). The district court’s instructions told the jury

that the public official bribery predicates were premised on Householder

allegedly “taking specific official action for the benefit of FirstEnergy

Corp. and FirstEnergy Solutions, namely, to help enact legislation that

would go into effect and save the operation of the nuclear plants.” (R. 237,

Tr. 23-3715, PageID 9408). The evidence was insufficient that House-

holder committed or agreed that a co-conspirator would commit any pred-

icate act.

                1.    Householder did not engage in bribery.

         Start with public official bribery. The corruption laws require clear

and specific evidence of an explicit quid pro quo when the alleged bribes

are otherwise-lawful campaign contributions—as in this case. The Su-

preme Court holds any alleged quid pro quo involving a campaign contri-

bution must be “explicit.” McCormick v. United States, 500 U.S. 257, 273


                                          43
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 58




(1991). Although this standard does not require a signed contract, it does

require that the defendant explicitly agree to take or withhold a specific

official action in exchange for a contribution. See id.; United States v.

Siegelman, 640 F.3d 1159, 1172 (11th Cir. 2011). In other words, the de-

fendant must agree “his official conduct will be controlled by the terms of

[a certain] promise or undertaking.” McCormick, 500 U.S. at 273; United

States v. Terry, 707 F.3d 607, 613 (6th Cir. 2013) (“What is needed is an

agreement, full stop ….”). That standard is more demanding than the one

used outside the campaign-contribution context. See United States v. Ab-

bey, 560 F.3d 513, 517–18 (6th Cir. 2009).

         This requirement comes from the First Amendment. The Supreme

Court has long held that the government “may not target … the political

access” that financial support for candidates “may afford.” McCutcheon

v. FEC, 572 U.S. 185, 192 (2014). “Ingratiation and access … are not cor-

ruption,” but rather “embody a central feature of democracy—that con-

stituents support candidates who share their beliefs and interests, and

candidates who are elected can be expected to be responsive to those con-

cerns.” Id. “[M]oney is constantly being solicited on behalf of candidates,

who run on platforms and who claim support on the basis of their views


                                          44
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 59




and what they intend to do or have done.” McCormick, 500 U.S. at 272.

The Constitution protects that conduct and bars the government from

prosecuting officials who eat with, meet with, or make policy commit-

ments to their campaign contributors—even if those acts come “shortly

before or after campaign contributions are solicited and received from

those beneficiaries.” Id.

         These principles confirm that in the campaign contribution context

the government needs the clearest possible proof to prove bribery—that

is, the agreement must be unambiguous and cannot be proven by impli-

cation. After all, ordinary political conduct is not enough to prove public

corruption, and it is not a crime when elected officials take actions that

are supported by or benefit those who have contributed to their cam-

paigns and advocated for those actions. Only an explicit agreement—one

for which the evidence is “not” “ambiguous” and susceptible to an innoc-

uous explanation—is sufficient. United States v. Blandford, 33 F.3d 685,

696 n.13 (6th Cir. 1994) (quoting Black’s Law Dictionary 579 (6th ed.

1990)). Thus, when the evidence permits a plausible explanation of the

defendant’s conduct that sounds in politics instead of corruption, McCor-

mick is not satisfied.


                                          45
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 60




         For this reason, federal courts closely police whether the govern-

ment’s evidence crosses the line from legitimate political activity to truly

corrupt bargains. The rule that McCormick established—requiring an ex-

plicit quid pro quo—has since served to draw a clear line between a cor-

rupt bargain and legitimate campaign fundraising. Since McCormick, the

Supreme Court has repeatedly reaffirmed this core principle of protecting

lawful fundraising from government overreach. The Supreme Court has

described the “influence and access” that come with campaign contribu-

tions as a “central feature of [our] democracy” and added that the First

Amendment “has its fullest and most urgent application precisely to the

conduct of campaigns for political office.” FEC v. Ted Cruz for Senate, 142

S. Ct. 1638, 1650 (2022) (cleaned up). But putting those actions at the

mercy of prosecutors and juries would criminalize “conduct that in a very

real sense is unavoidable so long as election campaigns are financed by

private contributions or expenditures.” McCormick, 500 U.S. at 272.

         For all these reasons, to prove an “explicit” agreement when cam-

paign contributions are the quid, the government must have unambigu-

ous evidence of a corrupt agreement—evidence that cannot be explained

as ordinary electoral politics. This is confirmed by caselaw:


                                          46
{01997861-1}
                Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 61




               • United States v. Terry: evidence was so clear that “[n]o subtle

                 winks and nods were needed”; the donor had “straight up

                 asked [the defendant judge] to deny the bank’s motions for

                 summary judgment in the two cases, and with [the defend-

                 ant’s] tape-recorded reply (‘Got it.’), [the defendant] agreed to

                 do just that,” 707 F.3d 607, 615 (6th Cir. 2013); and

               • United States v. Siegelman: evidence that the defendant-gov-

                 ernor expressly acknowledged his agreement to sell a seat on

                 a board and arranged for the donations to come through in-

                 termediaries, see 640 F.3d 1159, 1166–67 (11th Cir. 2011).

The evidence in each case had no plausible explanation sounding in poli-

tics. Each thus involved an “explicit” and unambiguous agreement.

         The government’s evidence fell short here. It presented evidence

that large energy companies, FirstEnergy and FES, contributed large

amounts of money to a 501(c)(4) organization, Generation Now. And

that’s it. But these were presumptively legal contributions. Although the

government spent much of its trial presentations showing of the size of

the contributions, it’s not clear why that matters. The government

needed to show an explicit and unambiguous quid pro quo, but it


                                           47
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 62




presented little firsthand evidence of Householder’s direct communica-

tions with FirstEnergy executives. Instead, it based most of its evidence

on innuendo and speculation.

         Although the government claimed that this bribery scheme began

at two dinners in Washington, D.C. during President Trump’s inaugura-

tion, (see R. 191, Tr. 23, PageID 4534), it introduced little direct evidence

to support this. Its cooperating witness, Jeff Longstreth, testified that at

the first dinner, on January 18, 2017, “at least 20 people” were at the

table, and that he sat on one end of the table, while Householder sat on

the other end of the table, speaking with FirstEnergy’s CEO, Charles

Jones. (R. 217, Tr. 16-2601, PageID 7635).14 But he could not hear what

Householder and Jones were discussing (assuming this meeting actually

occurred). (Id.); see also United States v. Inzunza, 638 F.3d 1006, 1025

(9th Cir. 2011) (“we know nothing of what transpired at Zucchet’s half-

hour meeting with Malone at the 2001 fundraiser. Suspicion alone will

not support criminal liability.”). The next night, according to Longstreth,


          Longstreth’s testimony—as the government should have
         14

known—was likely false. Documentary evidence showed that Jones ar-
rived in D.C. the following day, January 19, (see HX 479 at 11, App’x 194),
and phone records showed that he made calls on January 18, 2017 from
Naples, Florida, (see GX 724B at 5, App’x 21).

                                          48
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 63




another, smaller dinner occurred.15 (R. 217, Tr. 16-2604, PageID 7638).

At that dinner, which again was supposedly attended by Householder,

Jones, and Dowling, Householder laid out his plan to try and get elected

Speaker of the Ohio House of Representatives again. (Id.). Meanwhile,

the FirstEnergy executives supposedly discussed that they were looking

“at the federal level” for a “solution” to the Ohio nuclear power plants.

(Id.); (see R. 219, Tr. 17-2758, PageID 7859) (Longstreth understood there

was “sense of urgency from FirstEnergy to pursue a federal solution”).

But, as a fallback, if the federal solution failed, they said that “we’re going

to need to do something at the state level.” (R. 217, Tr. 16-2604, PageID

7638). Longstreth did not testify that Householder promised to do any-

thing, nor did he testify that the FirstEnergy executives promised to con-

tribute anything at that dinner.

         Nor did the government otherwise introduce unambiguous evidence

of a corrupt agreement between Householder and the FirstEnergy



         This testimony too was likely false. Jones’s expense report
         15

showed that he had dinner with Tony George and his wife at the Bourbon
Steakhouse—not at the Palm, as Longstreth claimed. (HX 479 at 3, App’x
188). For some reason, the government did not bother to obtain or review
Jones’s expense report before trial; rather, the defense had to subpoena
this information. (See R. 219, Tr. 17-2825, PageID 7926).

                                          49
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 64




executives. While the government presented evidence of meetings and

conversations between Householder and Jones, “[i]ngratiation and access

… are not corruption.” McCutcheon v. FEC, 572 U.S. 185, 192 (2014).

Moreover, the evidence showed that Householder was a longtime support

of “the utilities and energy producers in Ohio.” (R. 219, Tr. 17-2725-26,

PageID 7826-27); (see also R. 224, Tr. 19-3051, PageID 8214). And that

he had expressed support for “[u]tility relief” before FirstEnergy contrib-

uted any monies to Generation Now. (See GX 212, App’x 3). Although it

is no defense that a public official would have taken the same action ab-

sent a bribe, that the official—like Householder did here—publicly ex-

tolled certain policy positions before receiving any contributions certainly

undermines any inference of a corrupt agreement, see United States v.

Menendez, 291 F. Supp. 3d 606, 628 (D.N.J. 2018) (public official “advo-

cating a policy position consistent with a position he had taken years ear-

lier” not proof of corrupt deal), just as proof of “unusual official actions”

can support such an inference, Terry, 707 F.3d at 615.

         In short, the government failed to present evidence of an unambig-

uous agreement. Two cases illustrate this point.




                                          50
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 65




         Take United States v. Benjamin, No. 21-CR-706 (JPO), 2022 U.S.

Dist. LEXIS 219044 (S.D.N.Y. Dec. 5, 2022). There, the defendant, the

lieutenant governor of New York, received campaign contributions from

a real estate developer and allegedly in exchange allocated $50,000 to the

developer’s nonprofit. Id. The district court found the government’s alle-

gations insufficient and dismissed the bribery counts in the indictment:

“McCormick requires an agreement that is clear and unambiguous and

in turn controls the action. It does not permit the action to serve as proof

of the agreement.” Id. at *47.

         United States v. Menendez ordered acquittal for similar reasons.

There, the government had introduced evidence that Senator Bob

Menendez had followed up on a donor’s priorities in “close temporal prox-

imity” to his campaign contributions, did so more zealously” than before

the contributions, advocated through “unusual” means, and otherwise

engaged in a longstanding “pattern of corrupt activity and concealment.”

291 F. Supp. 3d at 627–35. The court nonetheless found that this pattern

of “context, chronology, escalation, [and] concealment” was legally insuf-

ficient to prove an explicit agreement, id. at 633, as the government had




                                          51
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 66




“not introduced any evidence connecting” the alleged quid to the alleged

quo, id. at 629–30.

         So too here. Like in Benjamin and Menendez and McCormick, the

government utterly failed to connect the quid to the alleged quo. In short,

the government’s evidence showed that energy companies, like FirstEn-

ergy and FES, contributed campaign funds to support Householder, who

was known to be a supporter of Ohio utility companies and who eventu-

ally helped pass House Bill 6. But, the cases cited above teach us, simply

showing meetings, contributions, and official actions are not enough to

win convictions.

         The government’s arguments of payment in exchange for official ac-

tion were insufficient too. Under this Court’s caselaw, whether something

counts as an official act is a two-part test: (1) “an official act must involve

an official issue—a question, matter, cause, suit, proceeding or contro-

versy” and (2) “the public official must have made a decision or taken an

action, or agreed to do so, on that official issue.” Dimora v. United States,

973 F.3d 496, 503 (6th Cir. 2020) (cleaned up). What this means is that

“the official must make a decision or take action, or promise to do so, on

the particular question or matter at the time he receives payment or other


                                          52
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 67




things of value.” United States v. Hills, 27 F.4th 1155, 1179 (6th Cir.

2022).16 Although the government need not link specific contributions to

specific official actions, the government must show that at the time

Householder (or Generation Now) received contributions, Householder

agreed to take (or did take) official actions on the official issue. On this

fulcrum point, the government’s evidence fell short. The government says

that the bribe payments began in March 2017 (see GX 16, App’x 2) (show-

ing first contribution from FirstEnergy in March 2017), yet the only offi-

cial actions alleged occurred years later. What McDonnell and the cases

following it, including this Court’s published decision in Hills, require

though is that at the time of the payment, the public official must agree

to take official action on a specific and focused matter. The government’s

allegations that Generation Now received contributions for years before

Householder took any official action17 do not meet these requirements.


         16 “[W]ithout a requirement that an official must promise to influ-

ence a particular question or matter, any official who accepts a thing of
value and then later acts to the benefit of the donor, in any manner, could
be vulnerable to criminal prosecution.” United States v. Silver, 948 F.3d
538, 558 (2d Cir. 2020).
         17 Or even could take official action. All of the official actions the

government alleged Householder took (e.g., creating a House subcommit-
tee” and “using his position as Speaker to pressure and advise public


                                          53
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 68




         At bottom, “[t]here is no there there.” United States v. Menendez,

291 F. Supp. 3d 606, 633 (D.N.J. 2018) (quoting Gertrude Stein, Every-

body’s Autobiography (1937)). The government relied on speculations, in-

ferences, and generalizations to win a conviction. But those are insuffi-

cient to sustain one. This Court should vacate Householder’s conviction.

                2.    The private sector bribery predicates are insuffi-
                      cient.

         As the government argued in closing, the private sector bribery

predicates (Travel Act and private honest services wire fraud) were prem-

ised on Borges’s payment of $15,000 to Tyler Fehrman. (See R. 238, Tr.

24-3787, PageID 9480). But there was no evidence that Householder

agreed that Borges was to pay this money to Fehrman for information.

(See R. 212, Tr. 2141, PageID 7025) (Cespedes testifying that he had “no

personal knowledge” if Householder was aware of Cespedes’s communi-

cations with Borges about getting information from Fehrman).

         Even if he had, the evidence was insufficient. The Travel Act, 18

U.S.C. § 1952, predicate derived from an alleged violation of Ohio Rev.


officials to take official actions”) were actions that he literally could not
take in March 2017 when FirstEnergy first began contributing to Gener-
ation Now. And they were actions that he could not take for years there-
after.

                                          54
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 69




Code § 3517.22(A)(2). (See R. 22, Indictment ¶ 33, PageID 1256-57). That

statute prohibits giving “any valuable thing or valuable benefit to any

person who is employed by or is an agent of a committee in advocacy of or

in opposition to the adoption of any ballot proposition or issue” to improp-

erly influence him. Ohio Rev. Code § 3517.22(A)(2). Although the govern-

ment presented evidence that Borges gave $15,000 to Fehrman, it ne-

glected to put on evidence to show that Fehrman was an “employee” or

“agent” of the ballot campaign (i.e., Ohioans Against Corporate Bailouts).

Instead, the government’s evidence showed that Borges was employed by

Advanced Micro Targeting, Inc. (GX 624B, App’x 6). Nor was Borges an

“agent” of the ballot campaign. AMT’s CEO made that clear: “we run pe-

titions, we don’t have a relationship with the funders.” (R. 216, Tr. 15-

2476, PageID 7510). The evidence was insufficient on the Travel Act

predicate.

         The evidence of the private sector honest services wire fraud predi-

cate was insufficient too. Under this Court’s caselaw, the government

needed to show, among other things, that Fehrman had a fiduciary duty

to protect AMT’s “property” and that Borges sought to have Fehrman




                                          55
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 70




breach that duty.18 See United States v. Frost, 125 F.3d 346, 366 (6th Cir.

1997. This is because the wire fraud statute—even the honest services

fraud statute—is a property crime. See United States v. Sadler, 750 F.3d

585, 590 (6th Cir. 2014).

         The government did not identify a traditional property right, how-

ever. Instead, the government’s theory was that Borges sought to bribe

Fehrman for information about signatures collected. (See R. 238, Tr. 24-

3834-35, PageID 9527-28). But “mere information” is not a property in-

terest protected by the criminal fraud statutes. Ciminelli v. United

States, 143 S. Ct. 1121, 1128 (2023). And as this Court has explained, “it

[cannot] plausibly be said that the right to accurate information amounts

to an interest that has long been recognized as property.” Sadler, 750

F.3d at 591 (cleaned up). The information about signatures is not a prop-

erty interest.

         Nor did the government show that the disclosure of this information

harmed AMT. A person violates the honest services statute if he


         18 As Justice Gorsuch has observed, “[n]othing in [18 U.S.C. § 1346]

attempted to resolve when the duty of honest services arises, what
sources of law create that duty, or what amounts to a breach of it.”
Percoco v. United States, 143 S. Ct. 1130, 1140 (2023) (Gorsuch, J., con-
curring).

                                          56
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 71




reasonably contemplates that the victim will suffer “some concrete busi-

ness harm.” Frost, 125 F.3d at 368. AMT suffered no harm. It was paid

$8 million for its work. (See R. 216, Tr. 15-2477, PageID 7511).

                3.    The money laundering predicates fail.

         Absent any predicate that created “proceeds,” the money launder-

ing predicates cannot sustain the conviction.

IV.      The district court committed evidentiary errors.

         A.     The standard of review is abuse of discretion.

         This Court will reverse a district court’s evidentiary decisions if the

court abuses its discretion. See, e.g., United States v. Dunnican, 961 F.3d

859, 871 (6th Cir. 2020). “Abuses of discretion in evidentiary rulings,

however, merit reversal only if the error is not harmless—that is, only if

the erroneous evidentiary ruling affected the outcome of the trial.” United

States v. Farrad, 895 F.3d 859, 875 (6th Cir. 2018) (cleaned up).

         B.     The admission of two Title III recordings during
                Householder’s cross-examination was erroneous.

         Householder took the stand in his defense. During his cross-exami-

nation, the government sought to admit two Title III recordings of House-

holder and Clark: GX 906 and 913. (R. 229, Tr. 22-3567, PageID 8737);

(id., Tr. 22-3573-74, PageID 8743). In the first, GX 906, Householder says

                                          57
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 72




that “we can f— them over later,” apparently in reference to donors to

Ryan Smith, one of his political rivals. (GX 906 at :50-53, App’x 25); (see

R. 229, 22-3574, PageID 8744). And in the second, GX 913, Householder

says, in reference to different political rivals, that “we like war” and “if

you’re going to f— with me, I’m going to f— with your kids.” (GX 913 at

:10-11, :24-27, App’x 26). Householder objected to the admission of GX

906 on relevance and 403 grounds, (R. 229, Tr. 22-3569-74, PageID 8739-

44), but he did not object to the government publishing a couple minute

clip of GX 913, (id., Tr. 22-3566-67, PageID 8736-37).

         It was error for the district court to admit these recordings. Alt-

hough Householder objected on both relevance and 403 grounds, the dis-

trict court did not address the substance of the objections. (See R. 229,

Tr. 22-3574, PageID 8744 (asking for “further objections” and admitting

the exhibit). The recordings were not relevant and even if they were, they

were unduly prejudice under Evidence Rule 403.

         Relevance. “Evidence is relevant if . . . it has any tendency to make

a fact more or less probable than it would be without the evidence[.]” Fed.

R. Evid. 401(a). And “the fact [must be] of consequence in determining

the action.” Fed. R. Evid. 401(b). This Court has explained that in “a


                                          58
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 73




criminal case, a fact is ‘of consequence’ if it makes it more or less likely

that the defendant committed the charged conduct,” but it need not “di-

rectly prove or disprove an element of the offense.” United States v. Ha-

zelwood, 979 F.3d 398, 409 (6th Cir. 2020). These recordings—just like

the offensive recordings in Hazelwood—do not make it more likely that

Householder engaged in a RICO conspiracy through bribery. House-

holder’s vindictiveness toward his political rivals did not help the govern-

ment prove any elements of the crime charged.

         403. The recordings were also prejudicial under Rule 403. A court

may exclude relevant evidence only if “its probative value is substantially

outweighed by a danger of . . . unfair prejudice.” Fed. R. Evid. 403. As the

Court pointed in Hazelwood, if evidence is irrelevant—as the recordings

are here—it cannot have any “probative value (other than character),”

which is improper. 979 F.3d at 412. But setting that aside, even relevant

evidence should be excluded if it has an “undue tendency to suggest a

decision based on improper considerations.” Id. (cleaned up). For exam-

ple, evidence that “serves to inflame the passions of the jury” can be un-

fairly prejudicial, id., as can evidence that invites the jury to “generaliz[e]

a defendant’s earlier bad act into bad character” and to “tak[e] that as


                                          59
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 74




raising the odds that he did the latter bad act now charged.” United

States v. Bell, 516 F.3d 432, 445 (6th Cir. 2008).

         The government invited the jury to convict based on improper con-

siderations—that Householder was a vindictive “bully with a lust for

power” (to use the district court’s words from the sentencing hearing). (R.

285, Sent. Tr. 51, PageID 11218). That is of course is exactly why these

recordings should have been excluded. It was irrelevant and prejudicial

for the jury to hear that Householder wanted to “f— over” Ryan Smith’s

donors or that he was “going to f— with your kids.” The district court

erred, and its error was not harmless.

         The timing of the admission of these recordings also compounded

the danger of unfair prejudice. Householder was the last defense witness

to testify, and the government put on one short rebuttal witness. These

recordings were among the last pieces of evidence the jury heard.

         C.     The district court erred in permitting the government
                to tell the jury about Longstreth and Cespedes’s guilty
                pleas.

         The district court erred in permitting the government to elicit tes-

timony from Longstreth and Cespedes that those two witnesses pleaded

guilty and were cooperating with the government. This error was


                                          60
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 75




especially egregious given that Householder and Borges agreed that they

would not impeach those witnesses with their plea agreements. (R. 181,

Mot. to Exclude, PageID 4360). “Generally, the guilty plea or conviction

of a co-defendant or co-conspirator is not admissible at trial, and such

guilty pleas and convictions are never admissible as substantive evidence

of the defendant’s guilt.” United States v. Sanders, 95 F.3d 449, 454 (6th

Cir. 1996). But this Court has explained that a guilty plea of a co-defend-

ant “may properly be considered as evidence of a witness’ credibility.”

United States v. Thornton, 609 F.3d 373, 377 (6th Cir. 2010) (emphasis

added). Thus, a “prosecutor may refer to [a plea] agreement in appropri-

ate circumstances to deflect defendant’s use of a plea agreement to attack

the witness’ credibility.” United States v. Tocco, 200 F.3d 401, 416-17 (6th

Cir. 2000); see United States v. Townsend, 796 F.2d 158, 162 (6th Cir.

1986) (“[T]he elicitation of the fact of the [plea] agreement and the wit-

ness’ understanding of it . . . should be permitted on direct examination

in order to anticipate cross-examination by the defendant which

might give the jury the unjustified impression that the Government was

concealing this relevant fact.”) (emphasis added).




                                          61
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 76




         Therefore, “[i]n trials where defendants do not commit to give up

attacking the witness’s testimony with the cooperating plea agreement,

there is [] logic to allow prosecutors to introduce the plea agreement in

the prosecutor’s direct examination.” United States v. Clark, No. 1:19-cr-

148, 2020 WL 830057, at *13 (N.D. Ohio Feb. 20, 2020) (holding the court

erred in permitting the government to elicit evidence regarding co-de-

fendants’ guilty pleas). Conversely, however, “[w]hen a defendant offers

to forgo a guilty-plea-based attack on a witness’s credibility, the Court

should not allow evidence of the witness’s plea.” Id. at *14; accord United

States v. Nosal, No. CR-08-0237 EMC, 2013 WL 11327121, at *8 (N.D.

Cal. Mar. 29, 2013) (“In this case, however, where the defendant has stip-

ulated that he will not attack the credibility of the witnesses based on the

plea deals, the probative value of the guilty pleas is minimal. The wit-

nesses’ credibility is not threatened because Defendant will not impeach

on the basis of the pleas.”).

         Once the defense forgoes impeaching on the basis of a guilty plea,

the relevance of the plea disappears. After all, the fact that a co-defend-

ant pleaded guilty cannot be used to bolster his credibility: “Felony con-

viction questions are permitted ‘to attack [ ] a witness’s character for


                                          62
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 77




truthfulness by evidence of a criminal conviction.’ Rule 609 does not pro-

vide for supporting a witness’s character for truthfulness with criminal

conviction evidence.” Clark, 2020 WL 830057, at *14 (quoting Fed. R.

Evid. 609).

         The district court’s conclusion to the contrary was erroneous. It ex-

plained that “the existence of the plea speaks to the witness’ credibility

in general.” (R. 298, Tr. 7, PageID 11667). Not so. Householder offered to

stipulate that he would not impeach these witnesses with their guilty

pleas—meaning the witnesses’ credibility was never challenged with re-

spect to their guilty pleas. After that promise, there was no permissible

purpose to question Longstreth and Cespedes about their pleas. See

United States v. Walker, 871 F.2d 1298, 1303 (6th Cir. 1989) (explaining

that the “[a]dmissibility of the plea turns on the purpose for which it is

offered”). It could not be to assess the witnesses’ credibility because

Householder promised not to impeach with the pleas. And, at any rate,

the evidence rules only permit a criminal conviction to be used to “at-

tack[] a witness’s character for truthfulness.” Fed. R. Evid. 609(a). The

district court erred and abused its discretion in concluding that the




                                          63
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 78




government could use the plea agreements to bolster their witnesses’

credibility.

         The district court’s other proffered explanation is also erroneous. It

held that, “by excluding references to the pleas and immunity deals, the

jury will undoubtedly be left with the impression that Defendants House-

holder and Borges were the only individuals prosecuted, despite the wit-

ness’ testimony professing their own guilt.” (R. 298, Tr. 7, PageID 11667).

But whether other persons were charged with or convicted of crimes is

never relevant in a criminal case. See Pattern Crim. Jury Instr. 6th Cir.

2.01(3). In fact, before trial, the government argued that the defense

should be precluded from presenting evidence that the government did

not charge the alleged individual bribers—Jones and Dowling—with

criminal offenses. (R. 138, Govt. MiL re Improper Argument, PageID

3761). And in simple terms, the district court’s stated rationale was that

the jury should consider Longstreth and Cespedes’s guilty pleas as sub-

stantive evidence of Householder’s guilt. That is improper.

         Admission of a co-defendant’s guilty plea is especially prejudicial in

a conspiracy case “because the crime by definition requires the participa-

tion of another. The jury could not fail to appreciate the significance of


                                          64
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 79




this and would realize, as the court said in a similar case, United States

v. Harrell, 436 F.2d 606, 614 (5th Cir. 1970), that ‘it takes two to tango.’”

United States v. Gullo, 502 F.2d 759, 761 (3d Cir. 1974). After all, “a

guilty plea entered by a codefendant can be especially prejudicial if the

plea is made in connection with a conspiracy to which the remaining de-

fendants are charged,” as is the case here. Thornton, 609 F.3d at 378

(cleaned up). And “[t]here is a spillover risk of inferring Defendant’s guilt

simply from the pleas.” United States v. Nosal, No. CR-08-0237 EMC,

2013 WL 11327121, at *8 (N.D. Cal. Mar. 29, 2013) (holding that co-de-

fendant’s guilty plea should be excluded under Rule 403).

         At bottom, a plea agreement is not probative of any fact to be proven

at trial. In fact, given Householder’s promise that he would not impeach

on this basis, the plea and cooperation agreements were only probative

of improper evidence: guilt by association. The government used these

agreements to brand the Defendants on trial, Householder and Borges,

guilty by association. For example, the government asked Cespedes if he

did “some things that were illegal” and if he pleaded guilty to “[c]onspir-

acy to racketeer.” (R. 211, Tr. 1862-63, PageID 6746-47). And it similarly

asked Longstreth if he was charged with racketeering and if he pleaded


                                          65
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 80




guilty to that offense. (R. 217, Tr. 2560, PageID 7594). That type of evi-

dence is improper and should have been excluded.

         D.     The district court’s evidentiary errors were not harm-
                less.

         The district court’s errors, taken together, were prejudicial to

Householder’s defense and were not harmless. “[T]he government must

show by a preponderance of the evidence that the error did not materially

affect the verdict.” United States v. Kilpatrick, 798 F.3d 365, 378 (6th Cir.

2015). And when a district court errors multiply, the “the cumulative ef-

fect of these errors” may render the trial fundamentally unfair. United

States v. Adams, 722 F.3d 788, 832 (6th Cir. 2013).

         As explained above, the district court’s errors were not harmless.

The district court permitted the jury to hear inflammatory recordings of

Householder—some of the last evidence the jury heard—and that two of

the witnesses pleaded guilty to conspiring with Householder. These er-

rors were not harmless.




                                          66
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 81




V.       The district court erred in sentencing Householder to the
         maximum sentence permitted by law.

         A.     The standard of review is de novo and abuse of discre-
                tion.

         This Court reviews a sentence for both procedural and substantive

reasonableness under an abuse of discretion standard. Gall v. United

States, 552 U.S. 38, 51 (2007). The Court reviews a district court’s legal

conclusions regarding the Sentencing Guidelines de novo and its findings

of fact for clear error. United States v. Moon, 513 F.3d 527, 539-40 (6th

Cir. 2008).

         A sentence may be procedurally unreasonable if the district court

improperly calculates the applicable guidelines range, selects a sentence

based on clearly erroneous facts, or fails to adequately explain the chosen

sentence. Gall, 552 U.S. at 51.

         B.     The district court’s maximum sentence is procedurally
                unreasonable.

         At sentencing, the district court applied a 22-level Guidelines en-

hancement, adding more than 10 years to what otherwise would have

been a 5–7-year range. It did so by finding that all the monies contributed

to Generation Now were bribes. That was error.



                                          67
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 82




         The district court compounded that error by adding an additional 2

levels because it found that Householder’s trial testimony was perjurious.

That too was error.

         1. The value of the bribe is not $60 million. Under the Guidelines,

“[i]f the value of the payment, the benefit received or to be received in

return for the payment, the value of anything obtained or to be obtained

by a public official or others acting with a public official, or the loss to the

government from the offense, whichever is greatest, exceeded $6,500,”

the court must increase the offense level using the loss table in § 2B1.1.

U.S.S.G. § 2C1.1(b)(2). Probation found, as did the district court, that all

the contributions made by FirstEnergy and FES to Generation Now “rep-

resents payment for a benefit received.” (R. 277, PSR ¶ 51, PageID

10966). That is wrong and is not supported by the evidence.

         The government needed demonstrate that each payment, all $60

million, represents a bribe—that is, a quid pro quo. “[A] bribery offense

sentenced pursuant to § 2C1.1 requires this type of quid pro quo.” United

States v. Jones, 260 F. App’x 873, 877 (6th Cir. 2008). In other words, the

government must show that each payment was made in return for some

specific official action and that Householder promised specific official


                                          68
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 83




action “at the time he receive[d] payment or other things of value.” United

States v. Hills, 27 F.4th 1155, 1179 (6th Cir. 2022). The Guidelines re-

quire this result. See U.S.S.G. § 2C1.1 cmt. n.2 (“[T]he applicable

amounts under subsection (b)(2) … are determined separately for each

incident and then added together.”) (emphasis added). And the govern-

ment bore the burden to prove the amount of the bribes at sentencing.

See, e.g., United States v. Jones, 641 F.3d 706, 712 (6th Cir. 2011).

         The district court gave this short shrift at sentencing. It held that

because it “heard all of the evidence” that it could “say with absolute cer-

tainty that the government has met its burden as to the entirety of the

contributions. Whether from FirstEnergy Corp., FirstEnergy Solutions,

Partners For Progress, it doesn’t matter, it was FirstEnergy money in

one form or another, it was a bribe for House Bill 6, and Mr. Householder

understood that without question.” (R. 285, Sent. Tr. 13, PageID 11180).

That’s all the district court offered to justify its finding that contributions

to a 501(c)(4) organization spread over a three-year period were all bribes

“for House Bill 6”—even though most of the contributions postdated Gov-

ernor DeWine signing that bill into law in July 2019. See, e.g., (GX 16,

App’x 2) (showing that FirstEnergy contributed about $40 million of the


                                          69
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 84




$60 million after August 7, 2019). This improperly raised Householder’s

offense level by 22.

         It was foundationally the government’s burden to prove that each

contribution was a bribe to justify raising Householder’s offense level.

The government did not carry this burden. But the district court did not

hold the government to that burden; instead, it simply painted with a

broad brush and assumed that each contribution was a bribe. That was

error.

         “An error with respect to the loss calculation is a procedural infir-

mity that typically requires remand.” United States v. Warshak, 631 F.3d

266, 328 (6th Cir. 2010). Here, the district court’s error raised House-

holder’s Guidelines’ offense level by 22 levels. This Court should reverse

his sentence.

         2. The district court also erred by finding Householder’s trial testi-

mony perjurious and imposing § 3C1.1’s 2-level obstruction adjustment.

When a defendant objects to the obstruction enhancement, district courts

must follow a specific process if they seek to impose the enhancement on

the ground that the defendant lied at trial. See United States v. Dunni-

gan, 507 U.S. 87, 95 (1993). The district court must identify—either


                                          70
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 85




expressly or by obvious implication—the statements in the defendant’s

testimony that the court considers perjurious. See United States v. Sas-

sanelli, 118 F.3d 495, 501 (6th Cir. 1997). And the court must make either

specific findings that the statements meet each perjury element or a gen-

eral finding that covers all the specific elements. See Dunnigan, 507 U.S.

at 95. This process exists to protect a defendant’s right to testify at trial.

See id. at 96–97.

         The district court did not follow this process. In just two short par-

agraphs of the sentencing transcript, the district court overruled House-

holder’s objection to the enhancement. (R. 285, Sent. Tr. 15-16, PageID

11182-83). The court said it found “certain aspects of Mr. Householder’s

testimony that were unequivocally false,” including “his whereabouts and

activities during the DC trip; his knowledge of, or involvement with, and

control over Generation Now; and his interactions with FirstEnergy ex-

ecutives, just to name a few.” (Id.).19 It did not make the specific perjury

findings that this Court’s cases require.


         The PSR, however, only identified Householder’s testimony
         19

“about what happened on January 18, 2017 and his contact with
[Dowling] during his trip to Washington DC for the presidential inaugu-
ration in January 2017” as the factual basis for the obstruction enhance-
ment. (R. 277, PSR ¶ 58, PageID 10967).

                                          71
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 86




         3. The district court erred in failing to explain why it discounted

Householder’s argument that applying the loss table was unreasonable.

When “a defendant argues that the application of a particular guideline-

approved practice in a specific case produces a sentencing range that is

unnecessarily high, the defendant has raise[d] substantial particularized

issues well beyond a simple . . . argument that a sentencing range is ex-

cessive.” United States v. Thomas-Mathews, 81 F.4th 530, 544 (6th Cir.

2023) (cleaned up). And if this “argument is ‘nonfrivolous,’ the district

court should address it expressly.” Id.; see also Rita v. United States, 551

U.S. 338, 357 (2007) (if a defendant “argues that the Guidelines reflect

an unsound judgment” a district court must provide some explanation for

rejecting the argument).

         Here, Householder argued that the “Guidelines vastly overstate[d]

the seriousness” of his offense. (R. 279, Householder Sent. Mem., PageID

11038). This was because applying the loss table to his offense increased

his offense level by 22 levels, and Householder urged the court to exercise

its discretion “when deciding whether or not to follow the sentencing ad-

vice that guideline provides.” United States v. Corsey, 723 F.3d 366, 379

(2d Cir. 2013) (Underhill, J., concurring). And Householder preserved


                                          72
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 87




this objection both before and after the court announced its sentence. (R.

285, Sent. Tr. 12, PageID 11179); (id., PageID 11222).

         The district court, however, ignored that argument at sentencing.

If a defendant “presents nonfrivolous reasons for imposing a different

sentence,” the “judge should address the parties’ arguments and explain

why he has rejected those arguments.” United States v. Peters, 512 F.3d

787, 789 (6th Cir. 2008) (cleaned up). Because the judge failed to do so

here, his sentence is procedurally unreasonable.

                                    *     *       *

         Because the district court improperly calculated Householder’s to-

tal offense level and its sentence was procedurally unreasonable, this

Court should remand for resentencing.

         C.     The district court’s maximum sentence was substan-
                tively unreasonable too.

         Even if this Court overrules Householder’s procedural reasonable-

ness argument, it should find that his sentence—a 20-year maximum

sentence—is substantively unreasonable. A sentence may be substan-

tively unreasonable if it is “greater than necessary” when juxtaposed

against the sentencing factors of 18 U.S.C. § 3553(a). Holguin-Hernandez

v. United States, 140 S. Ct. 762, 766-67 (2020).

                                          73
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 88




         As another district judge remarked in sentencing a public corrup-

tion case, “I’ve rarely seen an individual get the statutory maximum, as

did Mr. Householder.” Bill Bush, Under appeals court order, federal judge

sentences John Raphael to 6 months in prison, Columbus Dispatch,

https://www.dispatch.com/story/news/local/2023/07/11/democratic-opera-

tive-john-raphael-resentenced-to-serve-six-months-in-federal-prison-for-

bribery/70398485007/ (July 11, 2023). That’s no accident. The district

court here only arrived at the maximum sentence by improperly weighing

the § 3553(a) factors.

         Although Householder was 64 years old at sentencing, the district

court largely discounted that a lengthy term of incarceration would have

a minimal impact on specific deterrence. This Court has explained as

much: “observers of the criminal justice system have long acknowledged

the key argument that elderly offenders pose so low a risk to the public

that long or otherwise harsh sentences have little to no utilitarian bene-

fit.” United States v. Payton, 754 F.3d 375, 379 (6th Cir. 2014) (vacating

45-year sentence) (internal citations omitted). True, the district court

found that Householder’s “risk of recidivism” to be “on the low end,” but

for some reason, the court “can’t say it’s entirely diminished.” (R. 285,


                                          74
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 89




Sent. Tr. 53, PageID 11220). But imposing a 20-year prison sentence, like

in Payton, has no utilitarian benefit—especially because Householder’s

conviction bars him from running for public office again in Ohio. See Ohio

Rev. Code § 2961.02.

         Likewise, the district court gave short shrift to the sentencing dis-

parities it was creating. As Householder pointed out, defendants in the

vast majority of public corruption cases received less than a 10-year sen-

tence. (See R. 279, Householder Sent. Mem., PageID 11055-56). Moreo-

ver, the district court’s lengthy sentence of Householder created a dispar-

ity with his co-defendants. See United States v. Presley, 547 F.3d 625, 631

(6th Cir. 2008) (district court may account for disparities between co-de-

fendants). Borges received a 5-year prison sentence, and the government

agreed to recommend prison sentences of no more than 6 months for

Longstreth and Cespedes.

         Instead, the district court relied on a handful of cases the govern-

ment supplied. (See R. 285, Sent. Tr. 53, PageID 11220); (R. 278, Govt.

Sent. Mem., PageID 11012) (listing five comparators). The President




                                          75
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 90




commuted two of those defendants’ sentences.20 Even so, the district

court did not explain why it found these sentences comparable.

         The district court’s maximum sentence was substantively unrea-

sonable.

VI.      There was an appearance of impropriety, and the district
         judge should have recused himself.

         The Due Process Clause of the Fifth Amendment requires a “fair

trial in a fair tribunal before a judge with no actual bias against the de-

fendant.” Bracy v. Gramley, 520 U.S. 899, 904-05 (1997) (cleaned up). Un-

der the Due Process Clause, “recusal is required when, objectively speak-

ing, the probability of actual bias on the part of the judge or deci-

sionmaker is too high to be constitutionally tolerable.” Rippo v. Baker,

580 U.S. 285, 287 (2017) (per curiam) (cleaned up). Courts ask “not

whether a judge harbors an actual, subjective bias, but instead whether,

as an objective matter, the average judge in his position is likely to be



         20 Statement from the Press Secretary Regarding Executive Grants

of Clemency, White House, https://trumpwhitehouse.archives.gov/brief-
ings-statements/statement-press-secretary-regarding-executive-grants-
clemency-012021/ (Jan. 20, 2021) (commuting Kwame Kilpatrick sen-
tence); Executive Grant of Clemency, https://www.justice.gov/par-
don/page/file/1250016/download (last visited Feb. 26, 2024) (commuting
Rod Blagojevich’s sentence).

                                          76
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 91




neutral, or whether there is an unconstitutional potential for bias.” Wil-

liams v. Pennsylvania, 579 U.S. 1, 8 (2016) (cleaned up). Because “[b]oth

the appearance and reality of impartial justice are necessary to the public

legitimacy of judicial pronouncements and thus to the rule of law itself,”

an unconstitutional failure to recuse is structural error and thus not ame-

nable to harmless-error review. Id. at 16.

         Additionally, under federal law, a federal judge must “disqualify

[themselves] in any proceeding in which [their] impartiality might rea-

sonably be questioned.” 28 U.S.C. § 455(a). And judges must also recuse

themselves when they have “a personal bias or prejudice concerning a

party, or personal knowledge of disputed evidentiary facts concerning the

proceeding.” Id. § 455(b)(1).

         The judge who presided over Householder’s trial is the Honorable

Timothy S. Black. Before serving on the federal bench, Judge Black twice

ran and lost for an elected seat on the Supreme Court of Ohio, in 2000

and 2002.21 When Judge Black ran for the Supreme Court, Householder



        2000 Election Results, Ohio Supreme Court—Term Beginning
         21

January 1, 2001: November 7, 2000, Ohio Sec’y of State, https://www.ohi-
osos.gov/elections/election-results-and-data/2000-elections-results/ohio-
supreme-court---term-beginning-january-1-2001-november-7-2000 (last


                                          77
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 92




was the then-Speaker of the Ohio House of Representatives, and he op-

posed Judge Black’s election. See, e.g., Jon Craig & Katy Waters, Ohio

Supreme Court; Battle of Independent TV Ads Gets Even Uglier, Colum-

bus Dispatch, Nov. 1, 2002 at 1A.22 But more than that: in 2002, House-

holder helped raise money for an advocacy group called Informed Citi-

zens of Ohio that backed Republican Supreme Court candidates and did

not disclose its donors. See Jon Craig, Political-action committees make

supreme court plans, The Columbus Dispatch, Sept. 28, 2002, at 3C23;

T.C. Brown, Celeste ex-aide works for secretive GOP court group, Plain

Dealer, Sept. 6, 2002 at B224 (“Republican Speaker Larry Householder

has said he will help the group raise money from donors who will remain

secret.”). And, in 2000, Householder raised money for an issue-advocacy

group called Citizens for a Strong Ohio, which did not disclose its donors


visited Feb. 19, 2024); 2002 Election Results, Justices of the Supreme
Court of Ohio, Ohio Sec’y of State, https://www.ohiosos.gov/elections/elec-
tion-results-and-data/2002-elections-results/justices-of-the-ohio-su-
preme-court/ (last visited Feb. 19, 2024).
         22 Available at https://plus.lexis.com/api/permalink/682fb877-06d2-

4014-bba3-776649394e47/?context=1530671.
         23 Available at https://plus.lexis.com/api/permalink/edbfe236-401c-

41be-a4d8-5243f2aca8a4/?context=1530671.
         24 Available at https://plus.lexis.com/api/permalink/bd793cc1-629b-

4984-83a8-d9d69136bda3/?context=1530671.

                                          78
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 93




and ran negative advertisements against one of the Democrats who was

running for the Supreme Court that year. See William Hershey, Some

Try to Shine Public Disclosure Light on Campaigns, Dayton Daily News,

Feb. 4, 2001.25

         For his part, Judge Black publicly expressed outrage that these

groups would spend money to help defeat his campaigns for the Ohio high

court. “The same groups have pledged to spend millions on this election

again, attacking me and distorting my record.” John McCarthy, Candi-

date pledges to shun outside help, Associated Press (Feb. 28, 2002)26 (em-

phases added and quoting Judge Black). At sentencing here, Judge Black

told Householder that while “negative campaign ads are not unlawful,”

“I know that politics can be a dirty game sometimes.” (R. 285, Sent. Tr.

48-49, PageID 11215-16) (emphasis added).

         During trial, Householder’s counsel explained that they “collec-

tively believe that the Court holds animosity towards us” and concluded

that it may be premised on Judge Black’s Ohio Supreme Court campaigns



         25 Available at https://plus.lexis.com/api/permalink/c762ca04-89bc-

40c6-8326-53ac31bc76ed/?context=1530671.
         26 Available at https://plus.lexis.com/api/permalink/6ab987f9-cb5b-

4350-81ce-074ada8fcd44/?context=1530671.

                                          79
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 94




during which “Mr. Householder was very active in raising money for a

501(c)(4) that was critical of [Judge Black’s] campaign.” (R. 197, Tr. 389-

90, PageID 4948-49). And Householder’s counsel asked “if the Court holds

personal animosity towards Mr. Householder and, hence, his team? And

if that’s the case, I’m questioning whether the Court should be presiding

over this case?” (R. 197, Tr. 390, PageID 4949). Without disputing the

factual assertions in the record, Judge Black simply said that the “answer

to your question is no.” (Id.).

         Because there was an appearance of impropriety, Judge Black’s

failure to recuse is structural error. Whether Judge Black actually har-

bored a subjective bias against Householder is immaterial. The question

is not whether a judge harbors an actual, subjective bias, but instead

whether, as an objective matter, “the average judge in his position is

‘likely’ to be neutral, or whether there is an unconstitutional ‘potential

for bias.’” Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 881 (2009). The

Due Process Clause requires recusal “when the probability of actual bias

on the part of the judge or decisionmaker is too high to be constitutionally

tolerable.” Id. at 872 (cleaned up). The Court framed the inquiry as

“whether, under a realistic appraisal of psychological tendencies and


                                          80
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 95




human weakness, the interest poses such a risk of actual bias or prejudg-

ment that the practice must be forbidden if the guarantee of due process

is to be adequately implemented.” Id. at 883-884 (cleaned up).

         Due Process required Judge Black’s recusal under these standards.

Householder—twice—opposed Judge Black’s election to the Ohio Su-

preme Court. And he did so in ways that were similar to some of the gov-

ernment’s allegations here: raising money into an issue advocacy group

that did not disclose its donors. For his part, Judge Black, during those

campaigns, expressed dismay that these groups raised money and “at-

tack[ed] me and distort[ed] my record.” John McCarthy, Candidate

pledges to shun outside help, Associated Press (Feb. 28, 2002) (quoting

Judge Black). Under the objective standard the Supreme Court estab-

lished in Caperton, “the average judge in” Judge Black’s position would

be unlikely to be neutral and there was certainly a “potential for bias.”

556 U.S. at 881. As in Caperton, the judge should have recused; his fail-

ure to do so is structural error.

         The Court should reverse and remand for a new trial before a dif-

ferent federal district court judge.




                                          81
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 96




                                  CONCLUSION

         The Court should reverse Householder’s conviction and either re-

mand for a new trial or with instructions to enter a judgment of acquittal.

Alternatively, the Court should vacate Householder’s sentence and re-

mand for resentencing.

Dated: February 26, 2024                      Respectfully submitted,

                                              /s/ Steven L. Bradley
                                              Steven L. Bradley (0046622)
                                              MAREIN & BRADLEY
                                              526 Superior Avenue, Suite 222
                                              Cleveland, Ohio 44114
                                              Phone: (216) 781-0722
                                              Email: steve@mareinandbradley.com

                                              /s/ Nicholas R. Oleski
                                              Nicholas R. Oleski (0095808)
                                              MCCARTHY, LEBIT, CRYSTAL
                                               & LIFFMAN CO., LPA
                                              1111 Superior Avenue East
                                              Suite 2700
                                              Cleveland, Ohio 44114
                                              Phone: (216) 696-1422
                                              Email: nro@mccarthylebit.com

                                              Counsel for Larry Householder




                                          82
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 97




                       CERTIFICATE OF COMPLIANCE

         This brief contains 16,009 words, excluding the parts of the brief

exempted by Rule 32(f), and the undersigned filed a motion for leave to

file an oversized brief (Dkt. 21), which is pending before the Court. This

brief complies with the typeface requirements of Rule 32(a)(5) and the

type-style requirements of Rule 32(a)(6) because it has been prepared in

proportionally spaced typeface using Microsoft Word in 14-point Century

Schoolbook font.

                                              /s/ Nicholas R. Oleski
                                              Nicholas R. Oleski

                                              Counsel for Larry Householder




                                          83
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 98




                          CERTIFICATE OF SERVICE

         I certify that on February 26, 2024, I filed the foregoing electroni-

cally with the Clerk of the United States Court of Appeals for the Sixth

Circuit. The Court’s ECF system will automatically generate and send by

email a Notice of Docket Activity to all registered attorneys currently

participating in this case, constituting service on those attorneys.

                                              /s/ Nicholas R. Oleski
                                              Nicholas R. Oleski

                                              Counsel for Larry Householder




                                          84
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 99




                          DESIGNATION OF
                RELEVANT DISTRICT COURT DOCUMENTS

 R.                  Description                             Page ID

          5          Redacted Complaint                              91-172

         22          Indictment                                    1247-1289

         63          Juan Cespedes Plea Agreement                  1415-1421

         64          Jeffrey Longstreth Plea                       1422-1428
                     Agreement
        N/A          Minute Entry as to Juan                           N/A
                     Cespedes (10/29/2020)
        N/A          Minute Entry as to Jeff                           N/A
                     Longstreth (10/29/2020)
         78          Generation Now Plea                           1558-1565
                     Agreement
        N/A          Minute Entry as to Generation                     N/A
                     Now, Inc. (02/19/2021)
         88          Order Granting Motion to                         1591
                     Dismiss Neil Clark
        104          Motion to Strike Prejudicial                  1734-1753
                     Surplusage from Indictment by
                     Matthew Borges
        105          Motion to Dismiss the                         1754-1770
                     Indictment by Larry Householder
        107          Motion to Strike Surplusage from              1784-1791
                     Indictment by Larry Householder
        110          Response in Opposition to Motion              2534-2536
                     to Strike Surplusage
        112          Response in Opposition to Motion              2548-2584
                     to Dismiss Indictment
        113          Response in Opposition to Motion              2585-2606
                     to Strike Prejudicial Surplusage



                                          85
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 100




 R.                  Description                              Page ID

        115          Reply to Response to Motion to                 3356-3376
                     Stike Prejudicial Surplusage
        116          Reply to Response to Motion to                 3377-3390
                     Dismiss Indictment
        117          Reply to Response to Motion to                 3391-3394
                     Sever Defendant
        122          Notice of Disclosure of Subjects of            3456-3457
                     Potential Expert Testimony
        129          Motion to Exclude Irrelevant and               3580-3594
                     Inadmissible Expert Testimony
        133          Response in Opposition to Motion               3730-3741
                     to Exclude Expert Testimony
        135          Reply to Response to Motion to                 3744-3748
                     Exclude Expert Testimony
        138          Motion in Limine to Preclude                   3759-3772
                     Argument and Evidence
                     Supporting Jury Nullification
        141          Motion in Limine to Exclude                    3788-3798
                     Certain Alleged Co-Conspirator
                     Hearsay
        142          Motion in Limine to Exclude                    3799-3806
                     Certain Prejudicial Evidence and
                     Argument
        144          Response in Opposition to Motion               3811-3830
                     in Limine to Exclude Certain
                     Alleged Co-Conspirator Hearsay

        145          Response in Opposition to Motion               3831-3834
                     in Limine to Exclude Certain
                     Prejudicial Evidence and
                     Argument
        150          Response in Opposition to Motion               3853-3863
                     in Limine to Preclude Argument n
                     Evidence Supporting Jury
                     Nullification


                                          86
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 101




 R.                  Description                              Page ID

        153          Reply to Response to Motion in                 3876-3884
                     Limine to Preclude Argument and
                     Evidence Supporting Jury
                     Nullification
        157          Reply to Response to Motion in                 3900-3903
                     Limine to Exclude Certain
                     Prejudicial Evidence and
                     Argument
        158          Reply to Response to Motion in                 3904-3908
                     Limine to Exclude Certain
                     Alleged Co-Conspirator
        159          Notice of Supplemental Authority               3909-3911
                     in Support of Motion to Dismiss
                     Indictment
        160          Notice of Government’s Response                3912-3913
                     to Defendant Householder’s
                     Supplemental Authority in
                     Support of Motion to Dismiss
                     Indictment
        161          Order resolving Motions in                     3914-3937
                     Limine
        168          Order Resolving Parties’ Motions               3945-3970
                     to Exclude/Limit Testimony of
                     Expert Witnesses
        172          Order Denying Motion to Dismiss                4003-4015
                     as to Larry Householder
        174          Proposed Jury Instructions by                  4030-4118
                     Larry Householder, Matthew
                     Borges
        175          Proposed Jury Instructions by                  4119-4164
                     USA
        177          Trial Brief by USA                             4310-4335

        178          Response to Trial Brief                        4336-4347



                                          87
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 102




 R.                  Description                              Page ID

        180          Final Pretrial Order                           4349-4359

        181          Motion to Exclude Plea                         4360-4369
                     Agreements, Cooperation
                     Agreements, and Immunity
                     Orders
        182          Transcript of Proceedings, Final               4370-4461
                     Pretrial Conference
        184          Response in Opposition as to                   4464-4474
                     Motion to Exclude
        187          Reply to Response in Opposition                4482-4494
                     as to Motion to Exclude
        N/A          Minute Entry for voir dire                        N/A
                     (01/20/2023)
        191          Trial Transcript Day 1                         4512-4677

        192          Notice of Objections to Proposed               4678-4692
                     Jury Instructions by USA
        193          Notice of Defendants’ Objections               4693-4712
                     to Government’s Proposed Jury
                     Instructions
        194          Trial Transcript Day 2                         4713-4926

        N/A          Not. Order, Jan. 29, 2023                         N/A

        197          Trial Transcript Day 3                         4940-5145

        198          Trial Transcript Day 4                         5146-5352

        199          Trial Transcript Day 5                         5353-5494

        201          Trial Transcript Day 6                         5500-5692

        202          Trial Transcript Day 7                         5693-5825



                                          88
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 103




 R.                  Description                              Page ID

        205          Trial Transcript Day 8                         5939-6065

        206          Trial Transcript Day 9                         6066-6269

        208          Trial Transcript Day 10                        6474-6638

        211          Trial Transcript Day 11                        6642-6853

        212          Trial Transcript Day 12                        6854-7037

        213          Trial Transcript Day 13                        7038-7112

        214          Trial Transcript Day 14                        7113-7264

        216          Trial Transcript Day 15                        7415-7542

        217          Trial Transcript Day 16                        7543-7736

        219          Trial Transcript Day 17                        7804-7980

        220          Trial Transcript Day 18                        7981-8047

        224          Trial Transcript Day 19                        8110-8258

        225          Trial Transcript Day 20                        8259-8378

        226          Proposed Jury Instructions by                  8379-8381
                     Larry Householder
        227          Proposed Jury Instructions by                  8382-8385
                     USA
        228          Trial Transcript Day 21                        8386-8612

        229          Trial Transcript Day 22                        8613-8818




                                          89
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 104




 R.                  Description                              Page ID

        237          Trial Transcript Day 23                        9342-9462

        238          Trial Transcript Day 24                        9463-9618

        239          Trial Transcript Day 25                        9619-9662

        240          Trial Transcript Day 26                        9663-9673

        260          Jury Instructions                             10572-10645

        261          Jury Verdict as to Larry                         10646
                     Householder
        263          Jury Verdict as to Matthew                       10648
                     Borges
        278          Sentencing Memorandum by USA                  10995-11031
                     as to Larry Householder
        279          Sentencing Memorandum by                      11032-11073
                     Larry Householder
                     Supplemental Memorandum
                     Supporting Sentencing Memoran-
        283          dum by Larry Householder                      11137-11156

        284          Order Denying Motion to Strike                11157-11167
                     as to Matthew Borges
        285          Transcript of Proceedings as to               11168-11225
                     Larry Householder Sentencing
                     Hearing
        286          Transcript of Proceedings as to               11226-11284
                     Matthew     Borges   Sentencing
                     Hearing
        288          Judgment as to Larry                          11308-11314
                     Householder
        292          Am. Order Completing the Record               11330-11331




                                          90
{01997861-1}
               Case: 23-3565   Document: 22    Filed: 02/26/2024   Page: 105




 R.                  Description                              Page ID

       292-1         Am. Order Completing the Record               11537-11628
                     Attachment A
       292-2         Am. Order Completing the Record               11629-11649
                     Attachment B
        293          Notice of Appeal                              11650-11651

        298          Transcript of Proceedings, voir               11661-11893
                     dire




                                          91
{01997861-1}
